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               Exhibit B
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        Baby Foods Are Tainted with Dangerous Levels of
            Arsenic, Lead, Cadmium, and Mercury




                                Staff Report

           Subcommittee on Economic and Consumer Policy
                Committee on Oversight and Reform
                  U.S. House of Representatives

                              February 4, 2021

                             oversight.house.gov
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                                   EXECUTIVE SUMMARY

         Inorganic arsenic, lead, cadmium, and mercury are toxic heavy metals. The Food and
 Drug Administration and the World Health Organization have declared them dangerous to
 human health, particularly to babies and children, who are most vulnerable to their neurotoxic
 effects. Even low levels of exposure can cause serious and often irreversible damage to brain
 development.

         On November 6, 2019, following reports alleging high levels of toxic heavy metals in
 baby foods, the Subcommittee on Economic and Consumer Policy requested internal documents
 and test results from seven of the largest manufacturers of baby food in the United States,
 including both makers of organic and conventional products:

        •       Nurture, Inc. (Nurture), which sells Happy Family Organics, including baby food
                products under the brand name HappyBABY
        •       Beech-Nut Nutrition Company (Beech-Nut)
        •       Hain Celestial Group, Inc. (Hain), which sells baby food products under the brand
                name Earth’s Best Organic
        •       Gerber
        •       Campbell Soup Company (Campbell), which sells baby food products under the
                brand name Plum Organics
        •       Walmart Inc. (Walmart), which sells baby food products through its private brand
                Parent’s Choice
        •       Sprout Foods, Inc. (Sprout Organic Foods)

        Four of the companies—Nurture, Beech-Nut, Hain, and Gerber—responded to the
 Subcommittee’s requests. They produced their internal testing policies, test results for
 ingredients and/or finished products, and documentation about what the companies did with
 ingredients and/or finished products that exceeded their internal testing limits.

        Walmart, Campbell, and Sprout Organic Foods refused to cooperate with the
 Subcommittee’s investigation. The Subcommittee is greatly concerned that their lack of
 cooperation might be obscuring the presence of even higher levels of toxic heavy metals in their
 baby food products than their competitors’ products.

                                           FINDINGS

 1.     According to internal company documents and test results obtained by the Subcommittee,
        commercial baby foods are tainted with significant levels of toxic heavy metals,
        including arsenic, lead, cadmium, and mercury. Exposure to toxic heavy metals causes
        permanent decreases in IQ, diminished future economic productivity, and increased risk
        of future criminal and antisocial behavior in children. Toxic heavy metals endanger
        infant neurological development and long-term brain function. Specifically, the
        Subcommittee reports that:




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       ARSENIC was present in baby foods made by all responding companies.

             •      Nurture (HappyBABY) sold baby foods after tests showed they contained
                    as much as 180 parts per billion (ppb) inorganic arsenic. Over 25% of the
                    products Nurture tested before sale contained over 100 ppb inorganic
                    arsenic. Nurture’s testing shows that the typical baby food product it sold
                    contained 60 ppb inorganic arsenic.

             •      Hain (Earth’s Best Organic) sold finished baby food products containing
                    as much as 129 ppb inorganic arsenic. Hain typically only tested its
                    ingredients, not finished products. Documents show that Hain used
                    ingredients testing as high as 309 ppb arsenic.

             •      Beech-Nut used ingredients after they tested as high as 913.4 ppb arsenic.
                    Beech-Nut routinely used high-arsenic additives that tested over 300 ppb
                    arsenic to address product characteristics such as “crumb softness.”

             •      Gerber used high-arsenic ingredients, using 67 batches of rice flour that
                    had tested over 90 ppb inorganic arsenic.

       LEAD was present in baby foods made by all responding companies.

             •      Nurture (HappyBABY) sold finished baby food products that tested as
                    high as 641 ppb lead. Almost 20% of the finished baby food products that
                    Nurture tested contained over 10 ppb lead.

             •      Beech-Nut used ingredients containing as much as 886.9 ppb lead. It used
                    many ingredients with high lead content, including 483 that contained
                    over 5 ppb lead, 89 that contained over 15 ppb lead, and 57 that contained
                    over 20 ppb lead.

             •      Hain (Earth’s Best Organic) used ingredients containing as much as 352
                    ppb lead. Hain used many ingredients with high lead content, including
                    88 that tested over 20 ppb lead and six that tested over 200 ppb lead.

             •      Gerber used ingredients that tested as high as 48 ppb lead; and used many
                    ingredients containing over 20 ppb lead.

       CADMIUM was present in baby foods made by all responding companies.

             •      Beech-Nut used 105 ingredients that tested over 20 ppb cadmium. Some
                    tested much higher, up to 344.55 ppb cadmium.

             •      Hain (Earth’s Best Organic) used 102 ingredients in its baby food that
                    tested over 20 ppb cadmium. Some tested much higher, up to 260 ppb
                    cadmium.



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              •       Sixty-five percent of Nurture (HappyBABY) finished baby food products
                      contained more than 5 ppb cadmium.

              •       Seventy-five percent of Gerber’s carrots contained cadmium in excess of 5
                      ppb, with some containing up to 87 ppb cadmium.

       MERCURY was detected in baby food of the only responding company that tested for it.

              •       Nurture (HappyBABY) sold finished baby food products containing as
                      much as 10 ppb mercury.

              •       Beech-Nut and Hain (Earth’s Best Organic) do not even test for mercury
                      in baby food.

              •       Gerber rarely tests for mercury in its baby foods.

       These results are multiples higher than allowed under existing regulations for other
       products. For example, the Food and Drug Administration has set the maximum
       allowable levels in bottled water at 10 ppb inorganic arsenic, 5 ppb lead, and 5 ppb
       cadmium, and the Environmental Protection Agency has capped the allowable level of
       mercury in drinking water at 2 ppb. The test results of baby foods and their ingredients
       eclipse those levels: including results up to 91 times the arsenic level, up to 177 times the
       lead level, up to 69 times the cadmium level, and up to 5 times the mercury level.

 2.    Internal company standards permit dangerously high levels of toxic heavy metals, and
       documents revealed that the manufacturers have often sold foods that exceeded those
       levels.

              •       Nurture (HappyBABY) sold all products tested, regardless of how much
                      toxic heavy metal the baby food contained. By company policy, Nurture’s
                      toxic heavy metal testing is not intended for consumer safety. The Food
                      and Drug Administration (FDA) has only finalized one standard—100 ppb
                      inorganic arsenic in infant rice cereal—and Nurture set its internal
                      standard for that product 15% higher than the FDA limit, at 115 ppb.

              •       Beech-Nut set internal arsenic and cadmium standards at 3,000 ppb in
                      additives, such as vitamin mix, and 5,000 ppb lead for certain ingredients
                      like BAN 800. These standards are the highest of any responding
                      manufacturer.

              •       Hain (Earth’s Best Organic) set an internal standard of 200 ppb for
                      arsenic, lead, and cadmium in some of its ingredients. But Hain exceeded
                      its internal policies, using ingredients containing 353 ppb lead and 309
                      ppb arsenic. Hain justified deviations above its ingredient testing




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                     standards based on “theoretical calculations,” even after Hain admitted to
                     FDA that its testing underestimated final product toxic heavy metal levels.

 3.    The Subcommittee has grave concerns about baby food products manufactured by
       Walmart (Parent’s Choice), Sprout Organic Foods, and Campbell (Plum Organics).
       These companies refused to cooperate with the Subcommittee’s investigation. The
       Subcommittee is greatly concerned that their lack of cooperation might obscure the
       presence of even higher levels of toxic heavy metals in their baby food products,
       compared to their competitors’ products.

              •      Walmart sells Parent’s Choice and Parent’s Choice Organic products for
                     babies as young as four months.

              •      Sprout Organic Foods sells organic products for babies as young as six
                     months. It is owned by North Castle Partners, a Greenwich, Connecticut–
                     based private equity firm.

              •      Campbell sells Plum Organics products for babies as young as four
                     months.

              •      Independent testing of Walmart, Sprout Organic Foods, and Campbell
                     products has confirmed that their baby foods contain concerning levels of
                     toxic heavy metals.

 4.    The Trump administration ignored a secret industry presentation to federal regulators
       revealing increased risks of toxic heavy metals in baby foods. On August 1, 2019, FDA
       received a secret slide presentation from Hain (Earth’s Best Organic), which revealed
       that:

              •      Corporate policies to test only ingredients, not final products,
                     underrepresent the levels of toxic heavy metals in baby foods. In 100% of
                     the Hain baby foods tested, inorganic arsenic levels were higher in the
                     finished baby food than the company estimated they would be based on
                     individual ingredient testing. Inorganic arsenic was between 28% and
                     93% higher in the finished products;

              •      Many of Hain’s baby foods were tainted with high levels of inorganic
                     arsenic—half of its brown rice baby foods contained over 100 ppb
                     inorganic arsenic; its average brown rice baby food contained 97.62 ppb
                     inorganic arsenic; and

              •      Naturally occurring toxic heavy metals may not be the only problem
                     causing the unsafe levels of toxic heavy metals in baby foods; rather, baby
                     food producers like Hain may be adding ingredients that have high levels
                     of toxic heavy metals into their products, such as vitamin/mineral pre-mix.




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       This presentation made clear that ingredient testing is inadequate, and that only final
       product testing can measure the true danger posed by baby foods.

       The Trump FDA took no new action in response. To this day, baby foods containing
       toxic heavy metals bear no label or warning to parents. Manufacturers are free to test
       only ingredients, or, for the vast majority of baby foods, to conduct no testing at all.
       FDA has only finalized one metal standard for one narrow category of baby food, setting
       a 100 ppb inorganic arsenic standard for infant rice cereal. But this FDA standard is far
       too high to protect against the neurological effects on children.

 5.    The Subcommittee makes the following recommendations:

              •       Mandatory testing—Baby food manufacturers should be required by
                      FDA to test their finished products for toxic heavy metals, not just their
                      ingredients;

              •       Labeling—Manufacturers should by required by FDA to report levels of
                      toxic heavy metals on food labels;

              •       Voluntary phase-out of toxic ingredients—Manufacturers should
                      voluntarily find substitutes for ingredients that are high in toxic heavy
                      metals, or phase out products that have high amounts of ingredients that
                      frequently test high in toxic heavy metals, such as rice;

              •       FDA standards—FDA should set maximum levels of toxic heavy metals
                      permitted in baby foods. One level for each metal should apply across all
                      baby foods. And the level should be set to protect babies against the
                      neurological effects of toxic heavy metals; and

              •       Parental vigilance—Parents should avoid baby foods that contain
                      ingredients testing high in toxic heavy metals, such as rice products.
                      Instituting recommendations one through four will give parents the
                      information they need to make informed decisions to protect their babies.

 6.    Baby food manufacturers hold a special position of public trust. Consumers believe that
       they would not sell products that are unsafe. Consumers also believe that the federal
       government would not knowingly permit the sale of unsafe baby food. As this staff
       report reveals, baby food manufacturers and the Trump administration’s federal
       regulators have broken the faith.




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  I.      THE DANGER OF TOXIC HEAVY METALS TO CHILDREN’S HEALTH

          Children’s exposure to toxic heavy metals causes permanent decreases in IQ, diminished
  future economic productivity, and increased risk of future criminal and antisocial behavior. 1

          Babies’ developing brains are “exceptionally sensitive to injury caused by toxic
  chemicals, and several developmental processes have been shown to be highly vulnerable to
  chemical toxicity.” 2 The fact that babies are small, have other developing organ systems, and
  absorb more of the heavy metals than adults, exacerbates their risk from exposure to heavy
  metals. 3

          Exposure to heavy metals at this developmental stage can lead to “untreatable and
  frequently permanent” brain damage, which may result in “reduced intelligence, as expressed in
  terms of lost IQ points, or disruption in behavior.” 4 For example, a recent study estimates that
  exposure to environmental chemicals, including lead, are associated with 40,131,518 total IQ
  points loss in 25.5 million children (or roughly 1.57 lost IQ points per child)—more than the
  total IQ losses associated with preterm birth (34,031,025), brain tumors (37,288), and traumatic
  brain injury (5,827,300) combined. 5 For every one IQ point lost, it is estimated that a child’s
  lifetime earning capacity will be decreased by $18,000. 6

          Well-known vectors of child exposure to toxic heavy metals include lead paint in old
  housing and water pollution from landfills. Over the decades, a range of federal and state laws
  and regulations have been passed to protect child health through emissions standards, among
  other things.

          The Food and Drug Administration (FDA) has declared that inorganic arsenic, lead,
  cadmium, and mercury are dangerous, particularly to infants and children. They have “no
  established health benefit” and “lead to illness, impairment, and in high doses, death.”
  According to FDA, “even low levels of harmful metals from individual food sources, can



           1
             Miguel Rodríguez-Barranco et al., Association of Arsenic, Cadmium and Manganese Exposure with
  Neurodevelopment and Behavioural Disorders in Children: A Systematic Review and Meta-Analysis (Apr. 9, 2013)
  (online at www.sciencedirect.com/science/article/abs/pii/S0048969713003409?via%3Dihub).
          2
            Philippe Grandjean and Philip J. Landrigan, Neurobehavioural Effects of Developmental Toxicity (Mar.
  13, 2014) (online at www.ncbi.nlm.nih.gov/pmc/articles/PMC4418502/).
          3
          Consumer Reports, Heavy Metals in Baby Food: What You Need to Know (Aug. 16, 2018) (online at
  www.consumerreports.org/food-safety/heavy-metals-in-baby-food/).
          4
            Philippe Grandjean and Philip J. Landrigan, Neurobehavioural Effects of Developmental Toxicity (Mar.
  13, 2014) (online at www.ncbi.nlm.nih.gov/pmc/articles/PMC4418502/).
          5
            David C. Bellinger, A Strategy for Comparing the Contributions of Environmental Chemicals and Other
  Risk Factors to Neurodevelopment of Children (Dec. 19, 2011) (online at
  www.ncbi.nlm.nih.gov/pmc/articles/PMC3339460/).
           6
             Martine Bellanger et al., Economic Benefits of Methylmercury Exposure Control in Europe: Monetary
  Value of Neurotoxicity Prevention (Jan. 17, 2013) (online at https://pubmed.ncbi.nlm.nih.gov/23289875/).




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  sometimes add up to a level of concern.” FDA cautions that infants and children are at the
  greatest risk of harm from toxic heavy metal exposure. 7

         The Subcommittee on Economic and Consumer Policy’s investigation has found another
  source of exposure: baby foods. According to documents obtained from baby food
  manufacturers, toxic heavy metals, such as arsenic, cadmium, lead, and mercury are present at
  substantial levels in both organic and conventional baby foods. Currently, there is no federal
  standard on, or warning to parents and caregivers about, these toxins.

          A.         Inorganic Arsenic

          Arsenic is ranked number one among substances present in the environment that pose the
  most significant potential threat to human health, according to the Department of Health and
  Human Services’ Agency for Toxic Substances and Disease Registry (ATSDR). 8 The known
  health risks of arsenic exposure include “respiratory, gastrointestinal, haematological, hepatic,
  renal, skin, neurological and immunological effects, as well as damaging effects on the
  central nervous system and cognitive development in children.” 9

         Studies have concluded that arsenic exposure has a “significant negative effect on
  neurodevelopment in children.” 10 This negative effect is most pronounced in Full Scale IQ, and
  more specifically, in verbal and performance domains as well as memory. For every 50%
  increase in arsenic levels, there is an approximately “0.4 decrease in the IQ of children.” 11

         A study of Maine schoolchildren exposed to arsenic in drinking water found that children
  exposed to water with an arsenic concentration level greater than 5 parts per billion (ppb)
  “showed significant reductions in Full Scale IQ, Working Memory, Perceptual Reasoning and
  Verbal Comprehension scores.” The authors pegged 5 ppb as an important threshold. 12

          Likewise, a study of children in Spain found that increasing arsenic exposure led to a
  decrease in the children’s global motor, gross motor, and fine motor function scores. Boys in
  particular were more susceptible to arsenic’s neurotoxicity. 13

          7
             Food and Drug Administration, Metals and Your Food (online at www.fda.gov/food/chemicals-metals-
  pesticides-food/metals-and-your-food) (accessed Jan. 26, 2021).
          8
          Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Priority List (2019) (online at
  www.atsdr.cdc.gov/spl/index.html#2019spl).
           9
             Miguel Rodríguez-Barranco et al., Association of Arsenic, Cadmium and Manganese Exposure with
  Neurodevelopment and Behavioural Disorders in Children: A Systematic Review and Meta-Analysis (June 1, 2013)
  (online at https://pubmed.ncbi.nlm.nih.gov/23570911/) (emphasis added).
          10
               Id.
          11
               Id.
          12
             Gail A. Wasserman et al., A Cross-Sectional Study of Well Water Arsenic and Child IQ in Maine
  Schoolchildren (Apr. 1, 2014) (online at https://ehjournal.biomedcentral.com/articles/10.1186/1476-069X-13-23).
          13
             Antonio J. Signes-Pastor et al., Inorganic Arsenic Exposure and Neuropsychological Development of
  Children of 4-5 Years of Age Living in Spain (Apr. 29, 2019) (online at
  www.ncbi.nlm.nih.gov/pmc/articles/PMC6541502/).




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          B.       Lead

         Lead is number two on ATSDR’s list of substances present in the environment that pose
  the most significant potential threat to human health. 14 Even small doses of lead exposure are
  hazardous, particularly to children. 15 Lead is associated with a range of bad health outcomes,
  including behavioral problems, decreased cognitive performance, delayed puberty, and reduced
  postnatal growth. According to FDA, lead is especially dangerous to “infants” and “young
  children.” FDA acknowledges that:

          High levels of lead exposure can seriously harm children’s health and
          development, specifically the brain and nervous system. Neurological effects
          from high levels of lead exposure during early childhood include learning
          disabilities, behavior difficulties, and lowered IQ. Because lead can accumulate
          in the body, even low-level chronic exposure can be hazardous over time. 16

          Lead exposure severely affects academic achievement in children. Even at low levels,
  early childhood lead exposure has a negative impact on school performance. Two separate
  studies of schoolchildren in Detroit and Chicago public schools found a strong inverse
  relationship between lead exposure and test scores. In the Detroit study, there was a “significant
  association” between early childhood lead exposure and decreased standardized test
  performance, with lead exposure strongly linked to an adverse effect on academic achievement. 17
  The Chicago study found that higher blood lead concentrations were associated with lower
  reading and math scores in 3rd grade children. Increased blood lead concentrations correlated
  with a 32% increase in the risk of failing reading and math. 18

           The cognitive effects of early childhood lead exposure appear to be permanent. In one
  study, adults who previously had lead-associated developmental delays continued to show
  persisting cognitive deficits, demonstrating the long-lasting damage of lead exposure. 19




         14
            Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Priority List (2019) (online at
  www.atsdr.cdc.gov/spl/index.html#2019spl).
          15
             Philippe Grandjean, Even Low-Dose Lead Exposure Is Hazardous (Sept. 11, 2010) (online at
  https://pubmed.ncbi.nlm.nih.gov/20833288/).
          16
           Food and Drug Administration, Lead in Food, Foodwares, and Dietary Supplements (online at
  www.fda.gov/food/metals-and-your-food/lead-food-foodwares-and-dietary-supplements) (accessed Jan. 26, 2021).
          17
             Nanhua Zhang et al., Early Childhood Lead Exposure and Academic Achievement: Evidence From
  Detroit Public Schools (Mar. 2013) (online at
  http://mediad.publicbroadcasting.net/p/michigan/files/201302/AJPH.2012.pdf).
            18
               Anne Evens et al., The Impact of Low-Level Lead Toxicity on School Performance Among Children in
  the Chicago Public Schools: A Population-Based Retrospective Cohort Study (Apr. 7, 2015) (online at
  https://ehjournal.biomedcentral.com/articles/10.1186/s12940-015-0008-9).
          19
             Maitreyi Mazumdar et al., Low-Level Environmental Lead Exposure in Childhood and Adult Intellectual
  Function: A Follow-Up Study (Mar. 30, 2011) (online at www.ncbi.nlm.nih.gov/pmc/articles/PMC3072933/).




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         Studies have also established a significant association between lead exposure and
  Attention-Deficit/Hyperactivity Disorder (ADHD). 20

           C.       Cadmium

          Cadmium is number seven on ATSDR’s list of substances present in the environment that
  pose the most significant potential threat to human health. 21 Cadmium is associated with
  decreases in IQ, as well as the development of ADHD.
          A 2018 study found that cadmium exposure negatively affected children’s Full Scale IQ,
  particularly among boys. Boys exhibiting higher amounts of cadmium exposure had seven fewer
  IQ points than those exhibiting less cadmium exposure. 22 A 2015 study similarly found a
  significant inverse relationship between early cadmium exposure and IQ. 23

          A 2018 study linked cadmium exposure to ADHD, finding that the disorder was more
  common among children with the highest levels of cadmium exposure as compared to a control
  group. 24

           D.       Mercury

          Mercury is number three on ATSDR’s list of substances present in the environment that
  pose the most significant potential threat to human health. 25 Studies of mercury’s effect on
  childhood development have primarily been conducted by considering the mother’s exposure to
  mercury while pregnant. In these instances, “pre-natal mercury exposure has been consistently
  associated with adverse subsequent neuro-development.” 26 And pre-natal mercury exposure is
  also related to poorer estimated IQ. 27 Beyond prenatal exposure, higher blood mercury levels at



           20
            Gabriele Donzelli et al., The Association Between Lead and Attention-Deficit/Hyperactivity Disorder:
  A Systematic Review (Jan. 29, 2019) (online at www.mdpi.com/1660-4601/16/3/382/htm).
           21
            Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Priority List (2019) (online at
  www.atsdr.cdc.gov/spl/index.html#2019spl).
          22
             Klara Gustin et al., Cadmium Exposure and Cognitive Abilities and Behavior at 10 Years Off Age: A
  Prospective Cohort Study (Apr. 2018) (online at www.sciencedirect.com/science/article/pii/S0160412017321025).
           23
            Alison P. Sanders et al., Perinatal and Childhood Exposure To Cadmium, Manganese, And Metal
  Mixtures And Effects On Cognition And Behavior: A Review Of Recent Literature (July 5, 2015) (online at
  www.ncbi.nlm.nih.gov/pmc/articles/PMC4531257/).
           24
             Min-Jing Lee et al., Heavy Metals’ Effect on Susceptibility to Attention-Deficit/Hyperactivity Disorder:
  Implication of Lead, Cadmium, and Antimony (June 10, 2018) (online at
  www.ncbi.nlm.nih.gov/pmc/articles/PMC6025252/).
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            Agency for Toxic Substances and Disease Registry, ATSDR’s Substance Priority List (2019) (online at
  www.atsdr.cdc.gov/spl/index.html#2019spl).
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            Margaret R. Karagas et al., Evidence on the Human Health Effects of Low-Level Methylmercury
  Exposure (June 1, 2012) (online at https://ehp.niehs.nih.gov/doi/10.1289/ehp.1104494).
          27
             Joseph Jacobson et al., Relation of Prenatal Methylmercury Exposure from Environmental Sources to
  Childhood IQ (Aug. 1, 2015) (online at https://ehp.niehs.nih.gov/doi/10.1289/ehp.1408554).




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  “2 and 3 years of age were positively associated with autistic behaviors among preschool-age
  children.” 28

  II.     TOP BABY FOODS ARE TAINTED WITH DANGEROUS LEVELS OF INORGANIC
          ARSENIC, LEAD, CADMIUM, AND MERCURY.

         Internal company test results obtained by the Subcommittee confirm that all responding
  baby food manufacturers sold baby foods tainted by high levels of toxic heavy metals.


          A.       Inorganic Arsenic

          There is no established safe level of inorganic arsenic consumption for babies.
  Organizations such as Healthy Babies Bright Futures have called for a goal of no measurable
  amount of inorganic arsenic in baby food. 29 Consumer Reports suggests setting inorganic
  arsenic levels as low as 3 parts per billion (ppb). 30 FDA has already set maximum inorganic
  arsenic levels at 10 ppb for bottled water. 31 The Environmental Protection Agency (EPA) has
  similarly set a 10 ppb inorganic arsenic cap on drinking water, as have the European Union (EU)
  and the World Health Organization (WHO). 32

          1.       Nurture (HappyBABY) sold finished baby foods after testing showed they
                   contained as much as 180 ppb inorganic arsenic; over 25% of the tested baby
                   food sold by Nurture exceeded 100 ppb inorganic arsenic; on average,
                   Nurture baby food on store shelves has nearly 60 ppb inorganic arsenic.

         Nurture is the only baby food manufacturer that appears to regularly tests its finished
  baby food products for inorganic arsenic content (the others only test ingredients).


           28
              Jia Ryu et al., Associations of Prenatal and Early Childhood Mercury Exposure with Autistic Behaviors
  at 5 Years of Age: The Mothers and Children's Environmental Health (MOCEH) Study (Dec. 15, 2017) (online at
  www.sciencedirect.com/science/article/pii/S0048969717316479).
          29
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
          30
              Consumer Reports, Arsenic in Some Bottled Water Brands at Unsafe Levels, Consumer Reports Says
  (June 28, 2019) (online at www.consumerreports.org/water-quality/arsenic-in-some-bottled-water-brands-at-unsafe-
  levels/); Consumer Reports, Arsenic and Lead Are in Your Fruit Juice: What You Need to Know (Jan. 30, 2019)
  (online at www.consumerreports.org/food-safety/arsenic-and-lead-are-in-your-fruit-juice-what-you-need-to-know/).
          31
           Food and Drug Administration, Arsenic in Food and Dietary Supplements (online at
  www.fda.gov/food/metals-and-your-food/arsenic-food-and-dietary-supplements) (accessed Jan. 26, 2021).
          32
              Environmental Protection Agency, Drinking Water Requirements for States and Public Water Systems
  (online at www.epa.gov/dwreginfo/chemical-contaminant-rules) (accessed Jan. 26, 2021); The European Food
  Information Council, Arsenic (Q&A) (online at www.eufic.org/en/food-safety/article/arsenic-qa) (accessed Jan. 26,
  2021); World Health Organization, Arsenic (Feb. 15, 2018) (online at www.who.int/news-room/fact-
  sheets/detail/arsenic).




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          According to internal company documents, Nurture sells products even after testing
  confirms that they are dangerously high in inorganic arsenic. Nurture sold one such product,
  Apple and Broccoli Puffs, despite tests results showing it contained 180 ppb inorganic arsenic. 33
  An arsenic level of 180 ppb is high by all standards, but it is 80% higher than Nurture’s own
  internal goal threshold of 100 ppb.

  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 34




          Nurture routinely sold products that exceeded its internal standards. Twenty-nine other
  products that Nurture tested and sold registered over 100 ppb inorganic arsenic. In total, over
  25% of the products that Nurture tested for inorganic arsenic, and sold, had inorganic arsenic
  levels above 100 ppb. 35

  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 36

   Product Name                        Goal                Result        Date of Test Report Disposition
                                       Threshold
   Apple & Broccoli Puffs              100                 180           11/01/17                   Sell
   Banana & Pumpkin Puffs              100                 160           10/31/17                   Sell
   Strawberry & Beet Puffs             100                 160           10/31/17                   Sell
   Kale & Spinach Puffs                100                 150           10/31/17                   Sell
   Kale & Spinach Puffs                100                 150           10/31/17                   Sell
   Purple Carrot & Blueberry           100                 150           11/17/17                   Sell
   Puffs
   Sweet Potato & Carrot Puffs         100                 150           10/31/17                   Sell
   Sweet Potato & Carrot Puffs         100                 150           10/31/17                   Sell
   Apple Rice Cakes                    100                 130           02/08/17                   Sell
   Apple Rice Cakes                    100                 130           02/08/17                   Sell
   Sweet Potato & Carrot Puffs         100                 122           09/13/18                   Sell
   Apple Rice Cakes                    100                 120           02/08/17                   Sell

           33
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
          34
               Id.
          35
               Id.
          36
               Id.




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   Blueberry Beet Rice Cakes     100              120         02/08/17               Sell
   Purple Carrot & Blueberry     100              120         10/31/17               Sell
   Puffs
   Apple & Broccoli Puffs        100              115         10/15/18               Sell
   Strawberry & Beet Puffs       100              114         03/21/19               Sell
   Purple Carrot & Blueberry     100              112         06/05/18               Sell
   Puffs
   Apple Rice Cakes              100              110         07/28/17               Sell
   Blueberry Beet Rice Cakes     100              110         02/08/17               Sell
   Blueberry Beet Rice Cakes     100              110         02/08/17               Sell
   Strawberry & Beet Puffs       100              108         12/10/18               Sell
   Strawberry & Beet Puffs       100              108         09/21/18               Sell
   Apple & Broccoli Puffs        100              107         05/30/19               Sell
   Strawberry & Beet Puffs       100              107         05/22/19               Sell
   Strawberry & Beet Puffs       100              105         09/21/18               Sell
   Strawberry & Beet Puffs       100              104         08/22/18               Sell
   Banana & Pumpkin Puffs        100              103         04/24/19               Sell
   Sweet Potato & Carrot Puffs   100              103         04/24/19               Sell
   Banana & Pumpkin Puffs        100              101         09/21/18               Sell

         The average amount of inorganic arsenic in the baby foods that Nurture tested and sold
  was 59.54 ppb. That towers over existing and recommended standards, including FDA’s and
  EPA’s water limits of 10 ppb.

         At least 89 of Nurture’s final products—over 78% of those products tested—tested at
  9 ppb inorganic arsenic or above.

         For results under 9.54 ppb, Nurture did not differentiate—it marked them all as “<9.54.”
  Because of this “less than” reporting format, there is no way to know if any of Nurture’s
  products were free of inorganic arsenic.

  Summary of Nurture’s Inorganic Arsenic Results

   180 ppb – Nurture’s product with the highest amount of inorganic arsenic: Apple &
   Broccoli Puffs.
   >100 ppb – Over 25% of the baby food products that were tested for inorganic arsenic
   had over 100 ppb inorganic arsenic.
   59.54 ppb – Average amount of inorganic arsenic in all baby food products tested for
   inorganic arsenic.
   >50 ppb – Over 50% of Nurture’s baby food products that were tested for inorganic
   arsenic contained over 50 ppb inorganic arsenic.

         2.     Hain (Earth’s Best Organic) produced finished baby foods that contained as
                much as 129 ppb inorganic arsenic; Hain used ingredients in its baby foods
                with as much at 309 ppb total arsenic.



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          Hain does not regularly test finished baby food products for inorganic arsenic content. It
  typically only tests ingredients. However, when Hain did test a small sample of finished product,
  it found 129 ppb inorganic arsenic. 37

  Hain Celestial, FDA Testing Result Investigation, August 1, 2019 (Excerpted Entries) 38




          The Subcommittee’s review of the ingredient test results reveals that Hain routinely used
  ingredients with high levels of arsenic. Hain used brown rice flour that had tested at 309 ppb
  arsenic. 39 Hain likewise used a vitamin pre-mix containing 223 ppb arsenic, and raisin and
  wheat flour containing 200 ppb arsenic. 40 The testing data shows that Hain used at least 24
  ingredients after testing found that they contained more than 100 ppb arsenic, its already-
  dangerously-high internal standard for most ingredients. 41

  Hain, Raw Material Pre-Shipment Test Data History (Excerpted Entries) 42

   Lab Results        Product Description                   Status                      Arsenic        Arsenic
   Date                                                                                 Spec Limit     Result
                                                                                        (ppb)          (ppb)
   Jun/19/2019        Org Brown Rice Flour                  Deviation Approved          100            309
   Nov/26/2019        Vitamin Pre-Mix                       Deviation Approved          100            223
   Jul/10/2018        Org Whole Raisins                     Accepted                    100            200
   Sep/29/2017        Org Soft White Wheat Flour            Accepted                    200            200
   Dec/14/2017        Org Spelt Flour                       Accepted                    100            190
   Jan/8/2018         Organic Barley Malt Extract           Accepted                    100            180
   Dec/5/2017         Org Yellow Split Pea Powder           Accepted                    100            160
   Jul/13/2017        Medium Grain Whole Rice               Accepted                    200            150
   Oct/3/2017         Org Brown Rice Flour                  Accepted                    100            140
   Sep/4/2019         Org Brown Rice Flour                  Deviation Approved          100            134
   Dec/5/2017         Org Butternut Squash Puree            Accepted                    100            130
   Oct/31/2017        Org Brown Rice Flour                  Accepted                    100            130
          37
              Hain, PowerPoint Presentation to FDA: FDA Testing Result Investigation (Aug. 1, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).
          38
               Id.
            39
               Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).
          40
               Id.
          41
               Id.
          42
               Id.




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   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         130
   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         129
   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         129
   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         129
   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         127
   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         126
   Dec/13/2017        Org Blueberry Puree                  Accepted                   100         120
   Dec/27/2017        Org Barley Flour                     Accepted                   100         120
   Oct/31/2017        Org Brown Rice Flour                 Accepted                   100         119
   Nov/29/2017        Org Blueberry Puree                  Accepted                   100         110
   Nov/3/2017         Org Cinnamon Powder                  Accepted                   100         110
   Jul/11/2019        Org Brown Rice Flour                 Accepted                   100         101

          3.         Beech-Nut used ingredients in its baby foods with as much at 913.4 ppb
                     arsenic; Beech-Nut routinely used ingredients that exceeded 300 ppb total
                     arsenic; Beech-Nut unnecessarily uses high-arsenic additives to address
                     issues like “crumb softness.”

          Beech-Nut only tested arsenic content in its ingredients, not its final product. The
  Subcommittee has determined that Beech-Nut used ingredients containing as much as 913.4 ppb
  arsenic. 43 Test results show that Beech-Nut used at least fourteen other ingredients containing
  over 300 ppb arsenic. 44 And it used at least 45 ingredients containing over 100 ppb arsenic.

  Beech-Nut, Raw Material Heavy Metal Testing (Excerpted Entries) 45

   Date                    Commodity                  Arsenic           Spec.               Acceptance
                                                      Result                                (Y/N)
                                                      (ppb)
   9/19/2018               Amylase                    913.40            N/A                 Y
   4/26/2018               Amylase                    741.10            N/A                 Y
   10/7/2017               BAN 800                    710.90            <3000               Y
   11/29/2017              Alpha Amylase              679.00            N/A                 Y
   10/12/2017              Amylase                    645.10            N/A                 Y
   8/20/2019               Sebamyl 100                583.60            N/A                 Y
   3/6/2018                Org. Rice Flour            570.00            ≤100(inorg)         Y
   6/7/2019                Enzyme                     499.30            N/A                 Y
   12/20/2017              BAN 800                    465.20            <3000               Y
   1/14/2019               Enzyme                     442.30            N/A                 Y
   10/23/2017              BAN 800                    401.40            <3000               Y

          43
              Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).
          44
               Id.
          45
               Id.




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   2/19/2018             BAN 800                  382.00          <3000                Y
   6/12/2018             Ban 800                  353.80          <3000                Y
   5/21/2018             Org. Cumin               322.70          ≤1000                Y
   4/13/2018             Org. Rice                237.40          ≤100(inorg)          Y
   4/12/2018             Rice Flour               170.00          ≤100(inorg)          Y
   4/6/2018              Rice Flour               170.00          ≤100(inorg)          Y
   7/14/2017             Org. Cumin               168.50          ≤1000                y
   7/31/2018             rice flour               162.00          ≤100(inorg)          Y
   2/28/2018             Rice Flour               161.00          ≤100(inorg)          y
   3/30/2017             Cumin                    160.50          ≤1000                Y
   3/27/2018             Rice Flour               160.00          ≤100(inorg)          Y
   5/30/2018             Rice Flour               160.00          ≤100(inorg)          Y
   6/12/2018             Rice Flour               160.00          ≤100(inorg)          Y
   7/20/2018             Rice Flour               160.00          ≤100(inorg)          Y
   10/11/2016            Oregano                  158.10          <1000                Y
   1/15/2018             Rice Flour               150.00          ≤100(inorg)          Y
   1/15/2018             Rice Flour               150.00          ≤100(inorg)          Y
   2/15/2018             Rice Flour               150.00          ≤100(inorg)          Y
   5/31/2018             Rice Flour               150.00          ≤100(inorg)          Y
   2/22/2018             Rice Flour               140.00          ≤100(inorg)          Y
   1/6/2018              Rice Flour               140.00          ≤100(inorg)          Y
   4/6/2018              Rice Flour               140.00          ≤100(inorg)          Y
   9/4/2019              Org. rice                132.30          ≤200                 Y
   11/3/2017             Org.Cumin                130.20          ≤1000                Y
   2/15/2018             Rice Flour               130.00          ≤100(inorg)          Y
   2/5/2018              Rice Flour               130.00          ≤100(inorg)          Y
   2/8/2018              Rice Flour               130.00          ≤100(inorg)          Y
   1/5/2018              Rice Flour               122.30          ≤100(inorg)          Y
   1/5/2018              Rice Flour               120.80          ≤100(inorg)          Y
   2/8/2018              Rice Flour               120.00          ≤100(inorg)          Y
   1/18/2017             Org.Rice                 110.00          ≤200                 Y
   5/8/2018              Rice Flour               110.00          ≤100(inorg)          Y
   5/17/2017             Rice                     110.00          ≤200                 Y
   2/6/2017              Vitamin Mix              106.90          <3000                Y

          The six Beech-Nut ingredients with the highest arsenic levels—Amylase, BAN 800,
  Alpha Amylase, and Sebamyl 100—are all enzymes that Beech-Nut adds to its products. BAN
  800 is an enzyme that reportedly “[i]ncreases crumb softness” in baked goods. 46 Amylase is an


          46
            Novozymes, Meet Consumer Demands with Enzymes that Support Organic Labeling (May 2018) (online
  at www.novozymes.com/-/media/Project/Novozymes/Website/website/document-library/Advance-your-
  business/Baking/Baking-Product-Range-for-Organic-Production.pdf).




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  enzyme that is “used in bread-making as an additive to improve the conversion of complex
  sugars into simple sugars that yeast are then able to feed on and produce alcohol and CO2.” 47

          4.         Gerber used 67 batches of rice flour that had more than 90 ppb inorganic
                     arsenic.

          Gerber did not provide inorganic arsenic results for all of its ingredients. However, test
  results for conventional rice flour revealed that Gerber routinely used flour with over 90 ppb
  inorganic arsenic. 48 Gerber used five batches of rice flour that had 98 ppb inorganic arsenic, and
  67 batches that contained more than 90 ppb.

  Gerber Products Company Test Results (Excerpted Entries) 49

   Year          Ingredient                                             Total Arsenic        Inorganic
                                                                        (ppb)                Arsenic (ppb)
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               105                  98
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
   2018          Flour Rice Long Grain Tote NGM InfG Kshr               107                  97
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96
   2019          Flour Rice Long Grain Tote NGM InfG Kshr               105                  96


          47
               ChefSteps, Amylase (online at www.chefsteps.com/ingredients/amylase) (accessed Jan. 26, 2021).
          48
              Gerber, Gerber Products Company Test Results (Dec. 9, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/5_0.pdf).
          49
               Id.




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   2019   Flour Rice Long Grain Tote NGM InfG Kshr     105             96
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     123             95
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     123             95
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     95              95
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     123             95
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     123             95
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     124             95
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     124             95
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     124             95
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     124             95
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     118             94
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     118             94
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     94              94
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     118             94
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     118             94
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     111             94
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     111             94
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     111             94
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     111             94
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     111             94
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     111             94
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     111             94
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     111             94
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     111             94
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     111             94
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     111             94
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     121             93
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     123             92
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     123             92
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     123             92
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     123             92
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     108             92
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     92              92
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     108             92
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     108             92
   2017   Flour Rice Long Grain Tote NGM InfG Kshr     108             92
   2018   Flour Rice Long Grain Tote NGM InfG Kshr     120             92



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   2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
   2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
   2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
   2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
   2018        Flour Rice Long Grain Tote NGM InfG Kshr                 120                   92
   2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91
   2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91
   2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91
   2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91
   2019        Flour Rice Long Grain Tote NGM InfG Kshr                 138                   91

          B.       Lead

         There is a growing consensus among health experts that lead levels in baby foods should
  not exceed 1 ppb. The American Academy for Pediatrics, the Environmental Defense Fund, and
  Consumer Reports have all, in some form, called for a 1 ppb level in food and drinks that babies
  and children consume. 50 Healthy Babies Bright Futures has called for a goal of no measurable
  amount of lead in baby food. 51

          There is no federal standard for lead in baby food. However, FDA has set a 5 ppb lead
  standard for bottled water, WHO has set 10 ppb lead as a provisional guideline for drinking
  water, and EPA has set an action level of 15 ppb for lead in drinking water. FDA has also set
  standards for lead in juice (50 ppb) and candy (100 ppb). The European Union has set the
  maximum lead level in infant formula to 20 ppb. 52




          50
              American Academy of Pediatrics, Prevention of Childhood Lead Toxicity (May 5, 2016) (online at
  https://pediatrics.aappublications.org/content/pediatrics/early/2016/06/16/peds.2016-1493.full.pdf); Environmental
  Defense Fund, Lead in Food: A Hidden Health Threat (June 15, 2017) (online at
  www.edf.org/sites/default/files/edf_lead_food_report_final.pdf); Consumer Reports, Consumer Reports Letter to
  FDA on Reducing Heavy Elements Like Arsenic, Lead, and Cadmium in Fruit Juices (Jan. 30, 2019) (online at
  https://advocacy.consumerreports.org/research/consumer-reports-letter-to-fda-on-reducing-heavy-elements-like-
  arsenic-lead-and-cadmium-in-fruit-juices/).
          51
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
          52
             World Health Organization, Lead in Drinking-Water (2011) (online at
  www.who.int/water_sanitation_health/dwq/chemicals/lead.pdf); Environmental Protection Agency, Drinking Water
  Requirements for States and Public Water Systems (online at www.epa.gov/dwreginfo/lead-and-copper-rule)
  (accessed Jan. 26, 2021); European Union, Setting Maximum Levels for Certain Contaminants in Foodstuffs (Dec.
  19, 2006) (online at https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=CELEX:02006R1881-20150521).




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  Proposed and Existing Lead Standards

   Group or Agency               Standard

   Environmental                 1 ppb, especially for baby food
   Defense Fund
   Consumer Reports              1 ppb in fruit juices
   American Academy of           1 ppb for water fountains in schools
   Pediatrics (AAP)
   FDA                           5 ppb for bottled water
   World Health                  10 ppb provisional guideline
   Organization
   EPA                           15 ppb for drinking water (action level)
   European Union (EU)           20 ppb for “infant formulae and follow-on formulae”

   FDA                           50 ppb for juice
                                 100 ppb for candy

          The Subcommittee’s investigation has found that baby food manufacturers are selling
  baby food with higher levels of lead than what is allowed by existing standards for water, juice,
  and candy. Internal testing data from Gerber, Nurture, Beech-Nut, and Hain demonstrate that all
  four companies sold products or used ingredients with significant amounts of lead. Only Nurture
  routinely tested its finished product for lead. Hain, Beech-Nut, and Gerber did not test their
  finished products, only their ingredients. All companies, whether they test their final products or
  merely their ingredients, sold baby foods even when they or their ingredients contained unsafe
  levels of lead.

          1.         Nurture (HappyBABY) sold finished baby food products after testing
                     confirmed they contained as much as 641 ppb lead, over six times its already-
                     dangerously-high internal standard.

          Nurture sold products that tested as high as 641 ppb lead—over six times higher than its
  internal limit of 100 ppb lead. 53 Nurture also sold five other products after they tested over 50
  ppb lead. 54




          53
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
          54
               Id.




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  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 55




           Of the 206 finished products that Nurture tested for lead, 16 products registered over
  20 ppb lead—exceeding the lenient EU standard. And 39 products, or 18.9%, tested over 10 ppb
  lead. 56 It is not clear that even one of Nurture’s baby food products registered at or below 1 ppb
  lead, which should be the upper limit for lead content according to the health experts at
  Consumer Reports, the Environmental Defense Fund, and the American Academy of Pediatrics.

          2.         Beech-Nut used ingredients containing as much as 886.9 ppb lead; Beech-Nut
                     routinely used ingredients with high lead content, including 483 ingredients
                     that contained over 5 ppb lead, 89 ingredients that contained over 15 ppb
                     lead, and 57 ingredients that contained over 20 ppb lead.

         Beech-Nut used ingredients in its baby foods that contained high lead levels. For
  instance, Beech-Nut used cinnamon that contained 886.9 ppb lead. 57

  Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entry) 58




         Beech-Nut tested and used 57 ingredients that contained over 20 ppb lead, the EU’s lax
  standard for lead in infant formula. Beech-Nut accepted 89 ingredients that tested at or over 15
  ppb lead, EPA’s action level for drinking water, and 483 ingredients that tested at or over 5 ppb
  lead, FDA’s standard for lead in bottled water. 59




          55
               Id.
          56
               Id.
          57
              Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).
          58
               Id.
          59
               Id.




                                                         23
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  Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entries) 60

   Date              Commodity              Lead result (ppb)   Spec.    Acceptance (Y/N)

   10/19/2016        Cinnamon               886.9               ≤1000    Y

   5/21/2018         Org. Cumin             644.9               ≤1000    Y

   8/11/2017         Org. Coriander         603.5               <1000    Y

   10/11/2016        Oregano                570.4               <1000    Y

   7/14/2017         Org. Cumin             231.2               ≤1000    y

   5/31/2017         Cinnamon               203.9               ≤1000    Y

   3/30/2017         Cumin                  177.7               ≤1000    Y

   11/3/2017         Org. Cumin             167.7               ≤1000    Y

   12/5/2017         Org. Cinnamon          126.2               ≤1000    Y

   11/29/2017        Alpha Amylase          114.5               <300     Y

   9/19/2018         Amylase                108.8               <300     Y

   7/11/2017         Org. Lemon             102                 ≤160     Y

   7/8/2019          Org. Cinnamon          100                 ≤1000    Y

   7/12/2019         Org. Cinnamon          100                 ≤1000    Y

   10/12/2017        Amylase                95.8                <300     Y

   4/26/2018         Amylase                91                  <300     Y

   4/12/2017         Turmeric               76.3                ≤1000    Y

   8/27/2018         Sunflower Lecithin     71.6                ≤100     Y

   8/3/2017          Org. Lemon             63.7                ≤160     Y




          60
               Id.




                                                   24
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   4/11/2018    Org. Cinnamon         59                ≤1000      Y

   11/2/2018    S. Potato             55.3              ≤15        Y

   4/21/2017    Sunflower Lecithin    54.9              ≤100       Y

   8/15/2018    Quinoa Flour          51.6              <75        Y

   11/2/2018    S. Potato             50.1              ≤15        Y

   10/25/2016   Lemon                 47.5              ≤160       Y

   1/14/2019    Enzyme                47.3              <300       Y

   5/31/2018    Prune Puree           41.5              ≤40        Y - ER

   11/6/2018    S. Potato             40.3              ≤15        Y

   9/29/2017    Org. Turmeric         39.3              ≤1000      Y

   9/13/2019    Org. Cinnamon         37.8              ≤1000      Y

   8/11/2017    Org. Cinnamon         36.7              ≤1000      y

   11/6/2018    S. Potato             35.2              ≤15        Y

   11/2/2018    S. Potato             34.9              ≤15        Y

   10/10/2018   Dehydrated Potato     32.4              <75        Y - ER

   8/2/2018     Mango                 32.3              ≤20        Y

   11/2/2018    S. Potato             31.8              ≤15        Y

   6/11/2018    Sunflower Lecithin    31.7              ≤100       Y

   8/6/2018     Prune                 31.1              ≤40

   8/20/2019    Sebamyl 100           30.6              <300       Y

   3/19/2018    Org. Prune            30                ≤40        Y

   9/20/2016    Apricot               28                ≤20        Y - ER

   2/13/2019    Org. Prune            27.9              ≤40        Y - ER




                                             25
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   6/7/2019             Enzyme                      26.3                      <300            Y

   6/19/2018            Org. Quinoa Flour           25.3                      <75             Y - ER

   2/6/2017             Vitamin Mix                 24.6                      <10             Y

   9/28/2017            Org. Quinoa Seeds           24.2                      <75             Y

   9/28/2017            Org. Quinoa Seeds           24.2                      <75             Y

   2/1/2019             Blueberry                   22.7                      <25             Y

   11/6/2018            S. Potato                   22                        ≤15             Y

   3/18/2019            Org. Pears                  21.7                      <10

   6/14/2019            Sunflower Lecithin          21                        ≤100            Y

   3/20/2018            Carrots                     20                        <25             Y - ER

   3/20/2018            Carrots                     20                        <25             Y - ER

   3/19/2018            Carrots                     20                        <25             Y - ER

   3/19/2018            Carrots                     20                        <25             Y - ER

   3/16/2017            Sunflower Lecithin          20                        ≤100            Y

   3/1/2019             Org. Cinnamon               20                        ≤1000           Y


          3.       Hain (Earth’s Best Organic) used ingredients containing as much as 352 ppb
                   lead; Hain consistently used baby food ingredients with high lead content,
                   including 88 ingredients that tested over 20 ppb lead and six ingredients that
                   tested over 200 ppb lead.

         Hain used an ingredient called vitamin pre-mix in its baby food that contained as much as
  352 ppb lead. 61




            61
               Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).




                                                           26
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  Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entry) 62




          Hain used six ingredients that tested above 200 ppb lead. Hain used 88 ingredients with
  lead levels at or over 20 ppb—the EU’s standard for lead in infant formula. Hain accepted 115
  ingredients that registered at or over 15 ppb—EPA’s action level for drinking water. And at
  least 27% of Hain ingredients tested at or over 5 ppb lead, FDA’s standard for lead in bottled
  water. None of the test results showed an ingredient below 1 ppb lead, which should be the
  upper limit for lead content according to the health experts at Consumer Reports, the
  Environmental Defense Fund, and the American Academy of Pediatrics.

  Hain’s Raw Material Pre-Shipment Test Data History (Excepted Entries for Ingredients
  Above 200 ppb Lead) 63




          4.         Gerber used ingredients that tested as high as 48 ppb lead; and routinely
                     accepted ingredients containing over 20 ppb lead.

         Gerber produced limited lead testing results. The results for its sweet potatoes and juices
  demonstrated its willingness to use ingredients that contained dangerous lead levels. Gerber
  used an ingredient, conventional sweet potatoes, with 48 ppb lead. Gerber also used twelve other
  batches of sweet potato that tested over 20 ppb for lead, the EU’s lenient upper standard. 64




          62
               Id.
          63
               Id.
            64
               Gerber, Gerber Products Company Test Results (Dec. 9, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/5_0.pdf).




                                                          27
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  Gerber Products Company Test Results (Excerpted Entries) 65

   Year                    Ingredient                                     Lead Level (ppb)
   2017                    Conventional                                   48
   2017                    Organic                                        35
   2017                    Organic                                        34
   2017                    Organic                                        34
   2018                    Conventional                                   34
   2019                    Conventional                                   34
   2019                    Conventional                                   34
   2018                    Organic                                        25
   2019                    Organic                                        25
   2018                    Organic                                        22
   2018                    Organic                                        22
   2018                    Organic                                        21
   2019                    Conventional                                   21

          The average amount of lead in Gerber’s tested juice concentrates was 11.2 ppb—more
  than FDA’s limit for lead in bottled water. Over 83% of the juice concentrates tested showed
  greater than 1 ppb lead, which is Consumer Reports’ recommended limit for fruit juices.

  Gerber Products Company Test Results (Excerpted Entries) 66




          65
               Id.
          66
               Id.




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          C.       Cadmium

          Outside the context of baby food, some regulation has taken action against cadmium. For
  example, EPA has a limit of 5 ppb in drinking water, and FDA has set a limit of 5 ppb in bottled
  water. 67 These standards approach WHO’s 3 ppb limit for cadmium in drinking water. 68

           Groups like Healthy Babies Bright Futures have set a goal of no measurable amount of
  cadmium in baby food. 69 Consumer Reports has called for a limit of 1 ppb cadmium in fruit
  juices. 70 And the EU has set a limit ranging from 5–20 ppb cadmium for infant formula.

         The Subcommittee found that baby food manufacturers sold many products with much
  higher cadmium content.

  Proposed and Existing Cadmium Standards

   Group or Agency             Standard
   Consumer Reports            1 ppb in all fruit juices
   World Health                3 ppb for drinking water
   Organization
   EPA                         5 ppb for drinking water
   FDA                         5 ppb for drinking water
   European Union (EU)         5-20 ppb for infant formulae

          1.       Beech-Nut used ingredients in its baby food containing up to 344.55 ppb
                   cadmium; 105 Beech-Nut ingredients tested over 20 ppb cadmium.

        Beech-Nut used twenty ingredients registering over 100 ppb cadmium, including
  cinnamon containing 344.5 ppb cadmium. 71 That is more than 17 times higher than the EU’s lax



          67
             Environmental Protection Agency, Ground Water and Drinking Water (online at www.epa.gov/ground-
  water-and-drinking-water/national-primary-drinking-water-regulations) (accessed Jan. 26, 2021); 21 C.F.R. § 165
  (2019) (online at www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/cfrsearch.cfm?fr=165.110).
        68
           World Health Organization, Cadmium in Drinking-Water (2011) (online at
  www.who.int/water_sanitation_health/water-quality/guidelines/chemicals/cadmium.pdf?ua=1).
          69
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
          70
              Consumer Reports, Consumer Reports Letter To FDA On Reducing Heavy Elements Like Arsenic, Lead,
  and Cadmium in Fruit Juices (Jan. 30, 2019) (online at https://advocacy.consumerreports.org/research/consumer-
  reports-letter-to-fda-on-reducing-heavy-elements-like-arsenic-lead-and-cadmium-in-fruit-juices/); European Union,
  Setting Maximum Levels for Certain Contaminants in Foodstuffs (Dec. 19, 2006) (online at https://eur-
  lex.europa.eu/legal-content/EN/TXT/?uri=CELEX:02006R1881-20150521).
           71
              Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).




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  upper limit on cadmium in baby food. At least 105 ingredients that Beech-Nut tested and used in
  baby foods registered at or over 20 ppb cadmium—the EU’s lax infant formula upper limit. 72

  Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entries) 73

   Date                     Commodity                    Cadmium              Spec.             Acceptance
                                                         Result (ppb)                           (Y/N)
   10/19/2016               Cinnamon                     344.50               ≤1000             Y
   4/11/2018                Org. Cinnamon                225.10               ≤1000             Y
   5/31/2017                Cinnamon                     194.30               ≤1000             Y
   6/8/2018                 Org. Garlic                  186.00               ≤1000             Y
   8/11/2017                Org.Cinnamon                 178.20               ≤1000             y
   10/11/2016               Oregano                      176.50               <1000             Y
   12/5/2017                Org. Cinnamon                163.40               ≤1000             Y
   11/29/2017               Dehydrated Potato            148.40               <90               Y - ER
   10/10/2018               Dehydrated Potato            146.00               <90               Y
   10/10/2018               Dehydrated Potato            143.50               <90               Y - ER
   7/10/2019                Spinach Puree                143.00               <180              Y
   7/2/2018                 Fresh Spinach                142.30               <180              Y
   7/8/2019                 Org. Cinnamon                140.00               ≤1000             Y
   7/12/2019                Org. Cinnamon                140.00               ≤1000             Y
   3/1/2019                 Org. Cinnamon                120.00               ≤1000             Y
   11/29/2017               Dehydrated Potato            119.60               <90               Y - ER
   9/13/2019                Org. Cinnamon                117.30               ≤1000             Y
   7/15/2019                Spinach                      117.00               <180              Y
   7/15/2019                Spinach                      101.00               <180              Y
   7/15/2019                Spinach                      101.00               <180              Y

          2.         Hain (Earth’s Best Organic) used ingredients in its baby food containing up
                     to 260 ppb cadmium; 102 Hain ingredients tested over 20 ppb cadmium.

          Hain used 14 ingredients that contained more than 100 ppb cadmium, including barley
  flour that registered at 260 ppb cadmium. 74 That is thirteen times the EU’s lax upper limit on
  cadmium in baby food. Hain tested and used 102 ingredients that registered at or above 20 ppb
  cadmium—the EU’s lax upper limit.




          72
               Id.
          73
               Id.
            74
               Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).




                                                          30
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  Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entries) 75

   Lab Results           Products Description               Status            Cadmium               Cadmium
   Date                                                                       Spec. limit           Result (ppb)
                                                                              (ppb)
   Jan/19/2018           Org Barley Flour                   Accepted          100                   260
   Jan/22/2018           IQF Org Chopped Broccoli           Accepted          100                   250
   Jan/23/2018           Org Date Paste                     Accepted          100                   220
   Nov/3/2017            Org Cinnamon Powder                Accepted          100                   200
   Aug/21/2017           Org Brown Flax Milled              Accepted          100                   190
   Jan/22/2018           Org Date Paste                     Accepted          100                   190
   Jan/18/2018           Org Yellow Papaya Puree            Accepted          100                   170
   Jan/19/2018           Org Whole Wheat Fine               Accepted          100                   160
                         Flour
   Aug/17/2017           Org Red Lentils                    Accepted          100                   130
   Jan/15/2018           Org Oat Flakes                     Accepted          100                   130
   Jun/13/2018           Org Brown Flax Milled              Accepted          100                   121
   Jan/12/2018           Org Barley Flour                   Accepted          100                   110
   Jun/25/2018           Org Oat Flour                      Accepted          100                   102
   Feb/19/2019           Org Cinnamon Powder                Deviation         100                   102
                                                            Approved

          3.         Sixty-five percent of Nurture (HappyBABY) finished baby food products
                     contained more than 5 ppb cadmium, the EPA’s limit for drinking water.

           Nurture sold multi-grain cereal with 49 ppb cadmium. Nurture sold another 125 products
  that tested over 5 ppb, which is the EPA’s limit for drinking water. 76

  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 77




          75
               Id.
          76
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
          77
               Id.




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          4.         Gerber used carrots containing as much as 87 ppb cadmium; 75% of
                     Gerber’s carrots contain cadmium in excess of 5 ppb.

         Gerber does not test all its ingredients for cadmium. Of those it does test, it accepts
  ingredients with high levels of cadmium. Gerber used multiple batches of carrots containing as
  much as 87 ppb cadmium, and 75% of the carrots Gerber used had more than 5 ppb cadmium—
  the EPA’s drinking water standard. 78

  Gerber Products Company Test Results (Excerpted Entries) 79




          D.         Mercury

          Outside the context of baby food, some regulation has taken action against mercury.
  EPA, for example, has capped mercury in drinking water at 2 ppb. 80 Consumer advocates urge
  even stricter standards for baby food. For example, Health Babies Bright Futures has called for a
  goal of no measurable amount of mercury in baby food. 81

          1.         Nurture (HappyBABY) sold finished baby food products containing as much
                     as 10 ppb mercury.

          Nurture sold a finished baby food product that contained 10 ppb mercury, and two others
  that contained 9.8 and 7.3 ppb. A level of 10 ppb is five times more than the EPA’s 2 ppb
  standard for drinking water. In total, Nurture sold 56 products that contained over 2 ppb
  mercury. 82




          78
              Gerber, Gerber Products Company Test Results (Dec. 9, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/5_0.pdf).
          79
               Id.
          80
            Environmental Protection Agency, Ground Water and Drinking Water (online at www.epa.gov/ground-
  water-and-drinking-water/national-primary-drinking-water-regulations) (accessed Jan. 26, 2021).
           81
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
           82
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).




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  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 83




          2.         Beech-Nut and Hain (Earth’s Best Organic) did not even test for mercury in
                     baby food; Gerber barely tests for it.

         From the documents produced to this Subcommittee, it appears that neither Beech-Nut
  nor Hain tests their ingredients or their finished products for mercury.

        Gerber only tests certain ingredients for mercury. Of the test results they presented to the
  Subcommittee, they only tested carrots, sweet potatoes, and lemon juice concentrate.

  III.    INDUSTRY SELF-REGULATION FAILS TO PROTECT CONSUMERS: NURTURE,
          BEECH-NUT, HAIN, AND GERBER SET THEIR OWN DANGEROUSLY HIGH
          INTERNAL STANDARDS FOR TOXIC HEAVY METAL LEVELS AND ROUTINELY
          IGNORED THEM TO SELL PRODUCTS WITH HIGHER HEAVY METAL LEVELS.

          Baby food manufacturers are free to set their own internal standards for toxic heavy metal
  content of their products. They have set those standards at dangerously high levels and have
  often sold foods that exceed even those levels.

          A.         Nurture (HappyBABY) sets high internal standards and regularly exceeds
                     them. Nurture admits that its toxic heavy metal testing is not for safety—it
                     sells all products tested, regardless of its toxic heavy metal content. FDA has
                     finalized only one standard—100 ppb inorganic arsenic in infant rice
                     cereal—Nurture has ignored it, setting its internal standard for that product
                     at 115 ppb.

          Nurture created internal standards but did not follow them. Nurture describes these
  standards as “goal thresholds” that “are not used to make product disposition decisions and are
  not a pre-condition to product release.” 84 Instead, its testing regime is limited to monitoring the
  supply chain. Nurture’s thresholds are not actually used to prevent products that contain high
  levels of toxic heavy metals from being sold. 85


          83
               Id.
          84
              Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi, Subcommittee on Economic and Consumer
  Policy, Committee on Oversight and Reform (Dec. 18, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/10.pdf).
          85
               Id.




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          Nurture does not even claim to be testing for safety—it made clear in its letter response to
  this Subcommittee that all products will be sold regardless of testing result: “our heavy metal
  testing is performed as part of our monitoring program and not as a condition of product
  release, all of the products that were tested were sold into commerce.” 86

         Nurture sells the products it tests, regardless of their toxic heavy metal content. In total,
  Nurture tested 113 final products and sold every product tested, regardless of how much
  inorganic arsenic or lead the product contained, and regardless of whether those metals exceeded
  its own internal standards.

        As a result of this policy of not testing for safety, Nurture released products containing as
  much as 641 ppb lead and 180 ppb inorganic arsenic. 87

          Nurture sold 29 products that were above its internal arsenic limit of 100 ppb, including
  Apple & Broccoli Puffs that contained 180 ppb inorganic arsenic. Nurture’s standards “are not
  used to make product disposition decisions and are not a pre-condition to product release.”
  Instead, their testing regime is limited to monitoring the supply chain. 88

  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 89




          86
               Id.
          87
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
            88
               Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi, Subcommittee on Economic and Consumer
  Policy, Committee on Oversight and Reform (Dec. 18, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/10.pdf).
           89
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).




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          Further, Nurture appears to have misled the Subcommittee about its testing standards. As
  seen from Nurture’s goal thresholds pictured below, Nurture conveyed to the Subcommittee that
  after January of 2019, it had a goal threshold of 50 ppb for lead in all of its baby food products—
  infant formula, cereals, and wet foods. 90 However, in the test results that Nurture provided to
  this Subcommittee, it was still using 100 ppb as an internal guideline after January 2019.

          This image is from Nurture’s December 18, 2019, response to the Subcommittee, stating
  that after January of 2019, its lead threshold was 50 ppb in all baby food products: 91




          However, the chart below appears to show that after the date Nurture claims to have
  moved to a 50 ppb lead standard—January 2019—Nurture was still using a “Goal Threshold” of
  100 ppb for 53 baby food products. The fact that Nurture appears to have continued using a
  higher standard up to nine months after it claimed to the Subcommittee to have lowered the
  threshold casts serious doubt on Nurture’s candor in this matter.

  Nurture’s Heavy Metal Test Results for Baby Food Products (Excerpted Entries) 92



          90
              Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi, Subcommittee on Economic and Consumer
  Policy, Committee on Oversight and Reform (Dec. 18, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/10.pdf).
          91
               Id.
           92
              Nurture, Heavy Metal Test Results for Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).




                                                         35
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   Product Name                          Parameter Goal         Result     Unit Date of
                                                   Threshold                    Test
                                                                                Report
   Blueberry Beet Rice Cakes             Lead        100        <4.0       ppb   10/14/19
   Stage 3 Root Vegetable and Turkey     Lead        100        <4.0       ppb   10/11/19
   Apple & Broccoli Puffs                Lead        100        5.8        ppb   10/10/19
   Apple Cinnamon Oat Jar                Lead        100        <4.0       ppb   10/09/19
   Apple Spinach Jar                     Lead        100        <4.0       ppb   10/09/19
   Kale & Spinach Puffs                  Lead        100        9.7        ppb   10/09/19
   Apple Mango Beet                      Lead        100        <4.0       ppb   08/22/19
   Pear Prune Jar                        Lead        100        <4.0       ppb   08/22/19
   Apple Spinach Pea & Kiwi              Lead        100        43         ppb   08/22/19
   Pea Spinach Teether                   Lead        100        18         ppb   08/16/19
   Strawberry Yogis                      Lead        100        <4.0       ppb   08/13/19
   Sweet Potato & Carrot Puffs           Lead        100        7.7        ppb   07/25/19
   Banana & Pumpkin Puffs                Lead        100        6.2        ppb   07/25/19
   Apples Blueberries & Oats             Lead        100        <4.0       ppb   07/24/19
   CC Oats & Quinoa Cereal               Lead        100        <4.0       ppb   07/24/19
   Green Beans Jar                       Lead        100        <4.0       ppb   07/24/19
   Pears Mangoes & Spinach               Lead        100        <4.0       ppb   07/24/19
   Carrots                               Lead        100        <4.0       ppb   07/20/19
   Pea Spinach Teether                   Lead        100        23         ppb   07/11/19
   Apple & Broccoli Puffs                Lead        100        11         ppb   07/11/19
   Kale & Spinach Puffs                  Lead        100        11         ppb   07/11/19
   Mangoes                               Lead        100        <4.0       ppb   07/03/19
   Sweet Potatoes Jar                    Lead        100        <4.0       ppb   07/03/19
   CC Oats & Quinoa Cereal               Lead        100        <4.0       ppb   07/02/19
   Harvest Vegetables & Chicken          Lead        100        <4.0       ppb   07/02/19
   Apple Rice Cakes                      Lead        100        7.2        ppb   07/02/19
   Blueberry Purple Carrot Greek Yogis   Lead        100        4.3        ppb   07/02/19
   Apple & Broccoli Puffs                Lead        100        9.9        ppb   05/30/19
   Strawberry & Beet Puffs               Lead        100        10         ppb   05/22/19
   Apples & Spinach                      Lead        100        <4.0       ppb   05/15/19
   Clearly Crafted Apple Guava Beet      Lead        100        <4.0       ppb   05/10/19
   Sweet Potato Jar                      Lead        100        <4.0       ppb   05/10/19
   Banana & Pumpkin Puffs                Lead        100        13         ppb   04/24/19
   Sweet Potato & Carrot Puffs           Lead        100        7.7        ppb   04/24/19
   Apple Pumpkin Carrots                 Lead        100        <4.0       ppb   04/12/19
   Pea Spinach Teether                   Lead        100        23         ppb   04/12/19
   Multi-Grain Cereal Canister           Lead        100        5.2        ppb   04/12/19
   Carrots                               Lead        100        <4.0       ppb   04/11/19
   Sweet Potato Jar                      Lead        100        <4.0       ppb   04/11/19
   Apple Spinach Pea & Kiwi              Lead        100        34         ppb   03/29/19
   Strawberry & Beet Puffs               Lead        100        7.8        ppb   03/21/19



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   Banana & Pumpkin Puffs                        Lead            100              5.5      ppb     03/21/19
   CC Oatmeal Cereal                             Lead            100              <4.0     ppb     03/18/19
   Carrots & Peas                                Lead            100              <4.0     ppb     03/13/19
   CC Prunes                                     Lead            100              <4.0     ppb     03/13/19
   Pears & Kale Jar                              Lead            100              <4.0     ppb     03/13/19
   Vegetable & Beef Medley                       Lead            100              <4.0     ppb     03/07/19
   Banana Sweet Potato Teether                   Lead            100              12       ppb     02/19/19
   Banana & Pumpkin Puffs                        Lead            100              11       ppb     02/19/19
   Blueberry Purple Carrot Teether               Lead            100              10       ppb     02/19/19
   Mangoes                                       Lead            100              <4.0     ppb     02/13/19
   Apple Mango Beet                              Lead            100              <4.0     ppb     02/12/19
   Strawberry Banana Greek Yogis                 Lead            100              <4.0     ppb     02/12/19

          Nurture has also ignored the only final standard that FDA has set. FDA set a 100 ppb
  inorganic arsenic limit for infant rice cereal. Rather than comply with that limit, Nurture set its
  internal standards 15% higher, at 115 ppb inorganic arsenic. 93

  Excerpt of December 18, 2019, Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi 94




          B.         Beech-Nut set internal arsenic and cadmium standards at 3,000 ppb in
                     dangerous additives, such as vitamin mix, and 5,000 ppb lead for certain
                     ingredients like BAN 800. These standards are the highest of any responding
                     manufacturer.

         Beech-Nut has set an internal specification limit (listed in the chart below as “spec.”) of
  3,000 ppb inorganic arsenic for certain ingredients, including vitamin mix. 95 As a result of

          93
              Letter from Nurture, Inc. to Chairman Raja Krishnamoorthi, Subcommittee on Economic and Consumer
  Policy, Committee on Oversight and Reform (Dec. 18, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/10.pdf).
          94
               Id.
           95
              Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).




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  adopting this high internal standard, Beech-Nut has used ingredients containing 710.9, 465.2,
  and 401.4 ppb arsenic. 96 Beech-Nut also set internal guidelines of 3,000 ppb for cadmium and
  5,000 ppb for lead for certain ingredients. 97 These far surpass any existing regulatory standard in
  existence and toxic heavy metal levels for any other baby food manufacturer that responded to
  the Subcommittee’s inquiry.

  Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entries) 98




         Beech-Nut sold eleven products that surpassed its own internal cadmium limits. By
  doing so, Beech-Nut accepted dehydrated potato containing 119.6, 143.5, and 148.4 ppb
  cadmium, far surpassing its own internal limit of 90 ppb for that ingredient. 99




         96
              Id.
         97
              Id.
         98
              Id.
         99
              Id.




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  Beech-Nut’s Raw Materials Heavy Metal Testing (Excerpted Entries) 100




           Beech-Nut’s explanation of why it accepted products over its own internal limits was that
  it did so “rarely” and the ingredients were “generally restricted to a 20% variance of BNN’s
  allowable limits….” 101 However, as the cadmium examples show, Beech-Nut accepted certain
  ingredients in spite of their own testing results which showed that they contained over 20% more
  cadmium than their already-high internal limit. Beech-Nut’s internal limit for cadmium in
  dehydrated potato appears to be 90 ppb. A 20% variance would permit Beech-Nut to accept
  dehydrated potato containing up to 108 ppb cadmium. Nevertheless, Beech-Nut accepted three
  shipments of dehydrated potato containing cadmium in excess of its 20% variance allowance. 102
  Beech-Nut did not offer any explanation.

          C.          Hain (Earth’s Best Organic) set an internal standard of 200 ppb for arsenic,
                      lead, and cadmium in some of its ingredients. Hain justified deviations above
                      its ingredient testing standards based on “theoretical calculations,” even
                      after Hain admitted to FDA that its testing underestimated final product
                      toxic heavy metal levels.

          Hain set an internal standard of 200 ppb arsenic for 12 ingredients, most of which were
  different kinds of flours. By setting this high internal standard, Hain justified accepting wheat
  flour and rice that contained 200 and 150 ppb arsenic. 103



          100
                Id.
          101
              Letter from the President and Chief Executive Officer of Beech-Nut Nutrition Company to Chairman
  Raja Krishnamoorthi, Subcommittee on Economic and Consumer Policy, Committee on Oversight and Reform
  (Dec. 6, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/6_0.pdf).
          102
               Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).
            103
                Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).




                                                          39
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  Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entries) 104

   Lab Results         Product Description          Status          Arsenic Spec    Arsenic
   Date                                                             Limit (ppb)     Result (ppb)
   Aug/3/2017          Org Kamut Flour              Accepted        200             <100
   Aug/3/2017          Org Spelt Flour              Accepted        200             <100
   Jul/6/2017          Org Yellow Split Pea         Accepted        200             <100
                       Powder
   Jul/5/2017          Org Quinoa Flour             Accepted        200             <100
   May/26/2017         Org Soft White Wheat         Accepted        200             <100
                       Flour
   Aug/1/2017          Org Fiber Oat                Accepted        200             <100

   Sep/25/2017         Org Quinoa Flour             Accepted        200             <100
   Sep/12/2017         Org Spelt Flour              Accepted        200             <100

   Aug/4/2017          Org Spelt Flour              Accepted        200             <100

   Jul/19/2017         Org Green Lentil Flour       Accepted        200             <100

   Sep/29/2017         Org Soft White Wheat         Accepted        200             200
                       Flour
   Jul/13/2017         Medium Grain Whole           Accepted        200             150
                       Rice

          Similarly, Hain set an internal limit of 200 ppb for lead in five ingredients—forty times
  higher than FDA’s guidance for bottled water. By doing so, Hain justified accepting lentil flour
  with 110 ppb lead and quinoa flour with 120 ppb lead. These surpass every existing regulatory
  standard for lead. 105

  Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entries) 106




         104
               Id.
         105
               Id.
         106
               Id.




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          Hain used four products that surpassed its internal toxic heavy metal limits. For example,
  it accepted cinnamon that contained 102 ppb cadmium, vitamin pre-mix that had 223 ppb arsenic
  and 353 ppb lead, and two rice flours that had 134 and 309 ppb arsenic. 107

  Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entries) 108




         Hain justified these variations by claiming that the “theoretical” final goods will not
  surpass its internal limits. For example, Hain became aware that the vitamin pre-mix contained
  223 ppb arsenic and 352 ppb lead. 109

  Hain Deviation Report, Vitamin Premix (Nov. 26, 2019) 110




           Despite having dangerously high levels of toxic heavy metals, Hain approved the use of
  this vitamin pre-mix based on a “theoretical” calculation of toxic heavy metals in the final
  good. 111


          107
                Id.
          108
                Id.
          109
               Hain, Deviation Report, Vitamin Premix (Nov. 26, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/11_Redacted.pdf).
          110
                Id.
          111
                Id.




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  Hain Deviation Report, Vitamin Premix (Nov. 26, 2019) 112




          To calculate the estimated quantity of lead and arsenic in the finished good, Hain
  considered the percentage of rice flour and vitamin pre-mix in the finished goods, and their
  projected amounts of arsenic and lead. Ultimately, Hain predicted that the finished good would
  have roughly 85 ppb arsenic and 25 ppb lead. 113

  Hain Deviation Report, Vitamin Premix (Nov. 26, 2019) 114




          However, it is not clear that Hain ever tested the finished good. Hain appears to have
  used this vitamin pre-mix with dangerously high levels of toxic heavy metals without ever
  confirming the finished good was actually safe to consume.

         Hain made this decision four months after it had made a secret presentation to FDA
  admitting that heavily tainted vitamin premix caused dangerous levels of arsenic in its finished


         112
               Id.
         113
               Id.
         114
               Id.




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  products, which initially went undetected because Hain did not test its finished products. 115 Hain
  made no effort to correct the problem. Note: Full discussion of Hain’s secret presentation to
  FDA appears in Section V., Parts D. and E., below.

  IV.     WALMART, SPROUT ORGANIC FOODS, AND CAMPBELL REFUSED TO
          COOPERATE WITH THE SUBCOMMITTEE’S INVESTIGATION

          Nurture, Beech-Nut, Hain, and Gerber cooperated with the Subcommittee’s investigation,
  despite the fact that doing so exposed their reckless disregard for the health of babies. With that
  in mind, the Subcommittee questions why Walmart (Parent’s Choice), Sprout Organic Foods,
  and Campbell (Plum Organics) would refuse to comply with the investigation. None of them
  produced testing results or specific testing standards and Sprout never even responded to the
  Subcommittee’s repeated inquiries. The Subcommittee is greatly concerned that these
  companies might be obscuring the presence of even higher levels of toxic heavy metals in their
  baby food products than their competitors’ products.

          A.       Walmart (Parent’s Choice Brand)

          Walmart refused to produce any documents showing its internal testing policies, its
  testing results, or how Walmart treats ingredients and/or products that surpass any internal
  standards.

         Walmart’s evasion is concerning, as even limited independent testing has revealed the
  presence of toxic heavy metals in its baby food.

  Data from Healthy Babies Bright Futures Report: What’s in My Baby’s Food? 116




           115
               Hain, PowerPoint Presentation to Food and Drug Administration: FDA Testing Result Investigation
  (Aug. 1, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).
          116
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).




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  Walmart (Parent’s Choice) Baby Food that Tested High in Toxic Heavy Metals 117




          B.          Campbell (Plum Organics Brand)

         Campbell refused to produce its testing standards and specific testing results to the
  Subcommittee. Campbell has hidden its policies and the actual level of toxic heavy metals in its
  products.

          Instead of producing any substantive information, Campbell provided a spreadsheet self-
  declaring that every one of its products “meets criteria.” 118 Campbell declined to state what
  those criteria are.

  Campbell’s Product Heavy Metal Test Results (Excerpted Entries) 119




          117
            Walmart, Parent’s Choice Organic Strawberry Rice Rusks (online at www.walmart.com/ip/Parent-s-
  Choice-Organic-Baby-Rusks-Strawberry-Flavored/171533478) (accessed on Jan. 26, 2021).
          118
               Campbell, Product Heavy Metal Test Results (Dec. 11, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/12.pdf).
          119
                Id.




                                                         44
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         Campbell’s testing summary hides more than it reveals, since it does not show the levels
  of heavy metals that the testing found or the levels of heavy metals that would “meet criteria.”

          The Subcommittee was disturbed that, for mercury, which is a powerful neurotoxin,
  Campbell notes with asterisks that it has no criterion whatsoever, stating: “No specific threshold
  established because no high-risk ingredients are used.” 120 However, despite Campbell having no
  mercury threshold, Campbell still marked every food as “meets criteria” for mercury. 121 This
  misleading framing—of meeting criteria that do not exist—raises questions about what
  Campbell’s other thresholds actually are, and whether they exist.

         Campbell’s evasion is concerning, as even limited independent testing has revealed the
  presence of toxic heavy metals in its baby food.

  Data from Healthy Babies Bright Futures Report: What’s in My Baby’s Food? 122




          120
                Id.
          121
                Id.
          122
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).




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  Plum Organics’ Foods That Tested High in Toxic Heavy Metals 123




          C.       Sprout Organic Foods

          Sprout Organic Foods did not respond to the Subcommittee at all. Despite numerous
  emails to executives and its general information email address, as well as numerous attempts to
  reach the Sprout central office by telephone, Sprout never responded or made contact with the
  Subcommittee.

          Sprout Organic Foods was acquired by North Castle Partners, a Greenwich, Connecticut
  private equity firm, in 2015. North Castle Partners also owns such well-known brands as Curves
  International/Jenny Craig, Palladio Beauty Group, Mineral Fusion, Red Door Spas, Performance
  Bicycles, Octane Fitness, Ibex Outdoor Clothing, and Doctor's Best. 124

          Whether due to evasion or negligence, Sprout’s failure to respond raises serious concerns
  about the presence of toxic heavy metals in its baby foods, as even limited independent testing
  has revealed the presence of toxic heavy metals in its products.



          123
             Plum Organics, Little Teethers, Banana with Pumpkin (online at
  www.plumorganics.com/products/banana-with-pumpkin-wafers/) (accessed Jan. 26, 2021); Plum Organics, Mighty
  Morning Bar, Blueberry Lemon (online at www.plumorganics.com/products/blueberry-lemon-bar/) (accessed Jan.
  26, 2021).
          124
              North Castle Partners, Press Release: North Castle Partners Invests in Sprout Organic Foods, Inc.
  (June 29, 2015) (online at www.northcastlepartners.com/wp-content/uploads/2016/01/North-Castle_Sprout-Press-
  Release.pdf).




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  Data from Healthy Babies Bright Futures Report: What’s in My Baby’s Food? 125




  Sprout Organic Food That Tested High in Toxic Heavy Metals 126




  V.      FDA HAS FAILED TO CONFRONT THE RISKS OF TOXIC HEAVY METALS IN
          BABY FOOD. THE TRUMP ADMINISTRATION IGNORED A SECRET INDUSTRY
          PRESENTATION ABOUT HIGHER AMOUNTS OF TOXIC HEAVY METALS IN
          FINISHED BABY FOODS.

          Despite the well-known risks of harm to babies from toxic heavy metals, FDA has not
  taken adequate steps to decrease their presence in baby foods. FDA has not issued thresholds for
  the vast majority of toxic heavy metals in baby foods and does not require warning labels on any
  baby food products. In the summer of 2019, FDA received a secret presentation from a baby

           125
               Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
          126
              Sprout Organic Foods, Quinoa Puffs, Apple Kale (online at www.sproutorganicfoods.com/babies/6-
  months-and-up/plant-power-puffs/apple-kale-plant-power-puffs) (accessed Jan. 26, 2021).




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  food manufacturer that revealed that the commercial process of preparing finished baby foods
  increases their levels of toxic heavy metals. For that manufacturer, Hain (HappyBABY), the
  process increased inorganic arsenic levels between 28% and 93%. Yet, FDA took no apparent
  action.

          In May 2017, FDA established the Toxic Elements Working Group with the goal of
  reducing exposure to toxic elements in food, cosmetics, and dietary supplements. FDA claims
  that the Toxic Elements Working Group is focusing on metals “because high levels of exposure
  to those metals are likely to have the most significant impact on public health,” and “can be
  especially harmful to children because of concerns about effects on their neurological
  development.” 127 But the working group has not resulted in new or stronger regulations to
  protect babies from toxic heavy metals in their food.

          A.          Mercury and Cadmium

          FDA has acknowledged the dangers of mercury. Mercury has “no established health
  benefit” and has been “shown to lead to illness, impairment, and in high doses, death.” 128 FDA
  has acknowledged the added risk to babies and children, noting that it is: “paying special
  attention to children because their smaller body sizes and metabolism may make them more
  susceptible to the harmful effects of these metals,” including mercury. 129

          Despite these statements, FDA has taken no action to limit mercury in baby food.
  Instead, FDA has only set mercury standards for wheat, and fish, shellfish, and crustaceans, and
  they are high—1,000 ppb. 130 There are no FDA protections for mercury in baby food.

          The lack of FDA action on mercury standards stands in contrast to other regulators. The
  EPA, for example, set a limit of 2 ppb mercury in drinking water, even after taking into account
  the cost of attainment for industry. 131




          127
              Food and Drug Administration, Metals and Your Food (online at www.fda.gov/food/chemicals-metals-
  pesticides-food/metals-and-your-food) (accessed Jan. 26, 2021); Food and Drug Administration, What FDA Is
  Doing to Protect Consumers from Toxic Metals in Foods (Apr. 20, 2018) (online at
  www.fda.gov/food/conversations-experts-food-topics/what-fda-doing-protect-consumers-toxic-metals-foods).
          128
              Food and Drug Administration, Metals and Your Food (online at www.fda.gov/food/chemicals-metals-
  pesticides-food/metals-and-your-food) (accessed Jan. 26, 2021).
          129
                Id.
          130
              Food and Drug Administration, Guidance for Industry: Action Levels for Poisonous or Deleterious
  Substances in Human Food and Animal Feed (Aug. 2000) (online at www.fda.gov/regulatory-information/search-
  fda-guidance-documents/guidance-industry-action-levels-poisonous-or-deleterious-substances-human-food-and-
  animal-feed).
          131
              Environmental Protection Agency, Ground Water and Drinking Water (online at www.epa.gov/ground-
  water-and-drinking-water/national-primary-drinking-water-regulations) (accessed Jan. 26, 2021).




                                                       48
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          Similarly, FDA has taken no action on cadmium in baby food. FDA has issued only one
  guideline for cadmium, and that is a limit of 5 ppb for bottled water. 132 The EU has instituted a
  limit of 10-15 ppb for infant formula. 133

          B.          Lead

         FDA acknowledges that there is “no identified safe blood lead level” and that lead is
  especially dangerous to children:

          Lead is especially harmful to vulnerable populations, including infants, young
          children, pregnant women and their fetuses, and others with chronic health
          conditions. High levels of lead exposure can seriously harm children’s health and
          development, specifically the brain and nervous system. Neurological effects
          from high levels of lead exposure during early childhood include learning
          disabilities, behavior difficulties, and lowered IQ. Because lead can accumulate
          in the body, even low-level chronic exposure can be hazardous over time. 134

          FDA has taken action on bottled water, limiting lead to 5 ppb. 135 FDA has also taken
  steps toward regulating lead content in products for older children. FDA has released guidance
  recommending a maximum lead level of 100 ppb in candy likely to be consumed by children,
  and 50 ppb in some juices. 136 It is not sound logic to say that water is unsafe to drink if it
  contains over 5 ppb lead, but candy and fruit juice can be ten and twenty times higher than that
  limit.

          Unfortunately, it appears that FDA designed these limits to be protective of industry. In
  its “Supporting Document for Recommended Maximum Level for Lead in Candy,” FDA
  repeatedly emphasizes achievability by industry, as opposed to safety for children:

          •           “FDA believes that sugar-based candy products can be made with lead levels
                      below” [100 ppb].”
          •           “We believe that if milk chocolate manufacturers source their raw materials
                      appropriately, lead levels in their finished products will not exceed [100 ppb]
                      lead.”
          •           “We believe that, if dark chocolate manufacturers source their raw materials
                      appropriately, lead levels in their finished products will not exceed [100 ppb].”



          132
            21 C.F.R. § 165 (2019) (online at
  www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/cfrsearch.cfm?fr=165.110).
           133
               European Union, Setting Maximum Levels for Certain Contaminants in Foodstuffs (Dec. 19, 2006)
  (online at https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=CELEX:02006R1881-20150521).
          134
            Food and Drug Administration, Lead in Food, Foodwares, and Dietary Supplements (online at
  www.fda.gov/food/metals-and-your-food/lead-food-foodwares-and-dietary-supplements) (accessed Jan. 26, 2021).
          135
                Id.
          136
                Id.




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          •        “[E]ven for high-chili-content candy and powdered snack mix products, we
                   believe that candy with appropriately sourced ingredients will not exceed [100
                   ppb] lead.”
          •        “We believe that if manufacturers source salt to minimize lead levels, finished,
                   high-salt- content powdered snack mix products will not exceed [100 ppb]
                   lead.” 137

          But FDA has failed to regulate lead levels in baby foods. Manufacturers are free to set
  their own limits. Hain, for example, used internal soft limits of 100 and 200 ppb lead for the
  majority of its ingredients.

          FDA has created what it calls an Interim Reference Level (IRL) for lead, but this
  standard does not apply to manufacturers and is unhelpful for parents purchasing baby food. An
  Interim Reference Level is what FDA calls a calculation of “the maximum daily intake for lead
  from food.” 138 Above this limit, a person or baby’s blood level would reach a “point of
  concern.” FDA’s current IRL is 3 µg per day for children. This standard, though perhaps
  helpful to FDA in researching and evaluating how lead affects our nation’s children, is
  unworkable for parents. For this standard to be useful to a parent, they would need to know:

          •        what a µg is (it stands for a microgram);
          •        how much lead is in each product they are serving their baby;
          •        how much lead their child is exposed to through tap water; and
          •        how much lead is in their local environment, such as through lead-based paints.

          Obtaining this information is currently impossible for parents because baby food
  manufacturers do not publicly provide information on the amount of lead in their products.
  Given the information gaps parents face, it would be most appropriate for FDA to promulgate
  clear rules for baby food manufacturers that limit the amount of lead in baby food.

          C.       Arsenic

          In the context of arsenic in baby food, there are only two FDA regulations for specific
  products—an unenforceable draft guidance issued in July 2013, but never finalized,
  recommending an action level of 10 ppb for inorganic arsenic in single-strength (ready to drink)
  apple juice, and an August 2020 final guidance, setting an action level for inorganic arsenic in
  infant rice cereals at 100 ppb. 139


          137
             Food and Drug Administration, Supporting Document for Recommended Maximum Level for Lead in
  Candy Likely to Be Consumed Frequently by Small Children (Nov. 2006) (online at www.fda.gov/food/metals-and-
  your-food/supporting-document-recommended-maximum-level-lead-candy-likely-be-consumed-frequently-small)
  (emphasis added).
          138
            Food and Drug Administration, Lead in Food, Foodwares, and Dietary Supplements (online at
  www.fda.gov/food/metals-and-your-food/lead-food-foodwares-and-dietary-supplements) (accessed Jan. 26, 2021).
          139
              Food and Drug Administration, Draft Guidance for Industry: Action Level for Arsenic in Apple Juice
  (July 2013) (online at www.fda.gov/regulatory-information/search-fda-guidance-documents/draft-guidance-
  industry-action-level-arsenic-apple-juice); Food and Drug Administration, Guidance for Industry: Action Level for



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         The first problem with these standards is that they cover only a small sliver of the foods
  babies eat.

          The second problem is that they are far too lax to be protective of babies. There is no
  established safe level of inorganic arsenic consumption for babies. Arsenic exposure has a
  “significant negative effect on neurodevelopment.” 140 FDA acknowledged that “Low-to-
  moderate levels of inorganic arsenic appear to be associated with adverse health effects during
  childhood.” 141 Children exposed to water with an arsenic concentration of just 5 ppb “showed
  significant reductions in Full Scale, Working Memory, Perceptual Reasoning and Verbal
  Comprehension scores.” 142 This suggests that 5 ppb may be an important threshold, or that the
  threshold of safety may fall far below that.

           Healthy Babies Bright Futures has called for a goal of no measurable amount of inorganic
  arsenic in baby food. 143 Consumer Reports suggests that the level of inorganic arsenic should be
  set as low as 3 ppb for water and fruit juices. 144

          FDA has already set inorganic arsenic levels at 10 ppb for bottled water. 145 EPA has
  similarly set a 10 ppb inorganic arsenic cap on water, as have the European Union and the World
  Health Organization. 146




  Inorganic Arsenic in Rice Cereals for Infants (Aug. 2020) (online at www.fda.gov/regulatory-information/search-
  fda-guidance-documents/guidance-industry-action-level-inorganic-arsenic-rice-cereals-infants).
          140
              Miguel Rodríguez-Barranco et al., Association of Arsenic, Cadmium and Manganese Exposure with
  Neurodevelopment and Behavioural Disorders in Children: A Systematic Review and Meta-Analysis (Apr. 9, 2013)
  (online at www.sciencedirect.com/science/article/abs/pii/S0048969713003409?via%3Dihub).
          141
              Food and Drug Administration, Arsenic in Rice and Rice Products Risk Assessment Report (Mar. 2016)
  (online at www.fda.gov/files/food/published/Arsenic-in-Rice-and-Rice-Products-Risk-Assessment-Report-
  PDF.pdf).
          142
              Gail A. Wasserman et al., A Cross-Sectional Study of Well Water Arsenic and Child IQ in Maine
  Schoolchildren (Apr. 1, 2014) (online at https://ehjournal.biomedcentral.com/articles/10.1186/1476-069X-13-23).
          143
              Healthy Babies Bright Futures, What’s in My Baby’s Food? A National Investigation Finds 95 Percent
  of Baby Foods Tested Contain Toxic Chemicals That Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019)
  (online at www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
  10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
          144
              Consumer Reports, Arsenic in Some Bottled Water Brands at Unsafe Levels, Consumer Reports Says
  (June 28, 2019) (online at www.consumerreports.org/water-quality/arsenic-in-some-bottled-water-brands-at-unsafe-
  levels/); Consumer Reports, Arsenic and Lead Are in Your Fruit Juice: What You Need to Know (Jan. 30, 2019)
  (online at www.consumerreports.org/food-safety/arsenic-and-lead-are-in-your-fruit-juice-what-you-need-to-know/).
          145
            Food and Drug Administration, Arsenic in Food and Dietary Supplements (online at
  www.fda.gov/food/metals-and-your-food/arsenic-food-and-dietary-supplements) (accessed Jan. 26, 2021).
          146
               Environmental Protection Agency, Drinking Water Requirements for States and Public Water Systems
  (online at www.epa.gov/dwreginfo/chemical-contaminant-rules) (accessed Jan. 26, 2021); The European Food
  Information Council, Arsenic (Q&A) (online at www.eufic.org/en/food-safety/article/arsenic-qa) (accessed Jan. 26,
  2021); World Health Organization, Arsenic (Feb. 15, 2018) (online at www.who.int/news-room/fact-
  sheets/detail/arsenic).




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          FDA is fully aware of the dangers that inorganic arsenic presents to young children,
  stating that:

          There is growing evidence … that exposure to inorganic arsenic
          during…infancy…may increase the risk of adverse health effects, including
          impaired development during…childhood and neurodevelopmental toxicity in
          infants and young children, and that these adverse effects may persist later in life
          …. [C]hildren may likewise be particularly susceptible to neurotoxic effects of
          inorganic arsenic, e.g., as manifested in intelligence test results in children ….
          Also, children three years and younger have the highest exposure to inorganic
          arsenic because they have 2-3-fold higher intakes of food on a per body mass
          basis as compared to adults. Therefore, a child’s daily exposure to contaminants
          in food, such as inorganic arsenic in rice, could potentially be much higher than
          that of adults. 147

          Yet, in the one category of baby food for which FDA has finalized a standard—infant
  rice cereal—it set the maximum inorganic arsenic content at the dangerous level of 100 ppb.

          Why did FDA set its level so high? Because in developing the limit, FDA was focused
  on the level of inorganic arsenic that would cause cancer. FDA disregarded the risk of
  neurological damage, which happens at a much lower level. In its 2016 Risk Assessment Report,
  FDA was able to quantify the risk of lung and bladder cancer that inorganic arsenic presents. It
  was not able to quantify the risks of neurological development for infants. 148 As a result, the 100
  ppb limit is too high to adequately protect infants and children from the effects of inorganic
  arsenic.

         The third problem is that FDA’s piecemeal approach of setting different inorganic arsenic
  standards for different products is logically unsound. There can be only one safe level for
  inorganic arsenic in the foods that babies consume. All finished baby food products should
  accord with this safe level.

         Aside from these guidance documents for infant rice cereal and apple juice, FDA does
  not regulate toxic heavy metals in other baby food products.

          One example of how this approach is failing is with FDA’s decision to release draft
  guidance for apple juice, but not any other fruits juices. Based on the testing results the
  Subcommittee reviewed, baby food companies routinely exceed this draft limit of 10 ppb in
  other types of commonly consumed juices. Gerber, for example, used grape juice concentrate
  registering at 39 ppb inorganic arsenic. But because it was grape juice, as opposed to apple


          147
              Food and Drug Administration, Supporting Document For Action Level For Inorganic Arsenic In Rice
  Cereals For Infants (Aug. 2020) (online at www.fda.gov/food/chemical-metals-natural-toxins-pesticides-guidance-
  documents-regulations/supporting-document-action-level-inorganic-arsenic-rice-cereals-infants#introduction).
          148
              Food and Drug Administration, Arsenic in Rice and Rice Products Risk Assessment Report (Mar. 2016)
  (online at www.fda.gov/files/food/published/Arsenic-in-Rice-and-Rice-Products-Risk-Assessment-Report-
  PDF.pdf).




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  juice—which, from a safety perspective, is a distinction without a difference—Gerber
  incorporated in its products juice concentrate with high arsenic levels.

          The fourth problem with FDA’s piecemeal approach is that it appears designed to be
  protective of baby food manufacturers. In developing the infant rice cereal limit of 100 ppb,
  FDA considered an “achievability assessment.” The achievability assessment considered
  “manufacturers’ ability to achieve hypothetical maximum limits for inorganic arsenic in infant
  rice cereals….” 149 FDA considered samples taken from three time periods: 2011-2013, 2014,
  and 2018. As shown below, over time, the number of samples that tested under 100 ppb
  inorganic arsenic increased from 36% to 76% of the total number of samples. FDA noted that
  this increase meant “alternate sources of rice are available to enable infant rice cereal
  manufacturers to supply the market and meet the” 100 ppb level. 150 In short, FDA’s standard
  reflects manufacturers’ ease of compliance, rather than babies’ safety.

          If it is not possible, or it is exceedingly costly, to source ingredients like rice that achieve
  a safe level, then baby food manufacturers should find substitutes for those ingredients. Our
  nation’s children should not bear lifelong health burdens because of a manufacturer’s preference
  for tainted ingredients.

          D.          The Trump Administration Ignored A Secret Industry Presentation About
                      Higher Risks Of Toxic Heavy Metals In Baby Foods.

          On August 1, 2019, the Trump administration received a secret industry presentation that
  disclosed higher risks of toxic heavy metals in finished baby food products. Hain (Earth’s Best
  Organic) revealed the finding in a presentation to FDA entitled “FDA Testing Result
  Investigation.” 151




          149
              Food and Drug Administration, Supporting Document for Action Level for Inorganic Arsenic in Rice
  Cereals for Infants (Aug. 2020) (online at www.fda.gov/food/chemical-metals-natural-toxins-pesticides-guidance-
  documents-regulations/supporting-document-action-level-inorganic-arsenic-rice-cereals-infants#introduction).
          150
                Id.
           151
               Hain, PowerPoint Presentation to Food and Drug Administration: FDA Testing Result Investigation
  (Aug. 1, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).




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         Hain revealed that half (10 of 21) of the finished rice products that Hain tested contained
  100 ppb or more of inorganic arsenic—exceeding FDA’s standard for infant rice cereal. One
  product contained almost 30% more, registering at 129 ppb inorganic arsenic.




          Hain’s average level of inorganic arsenic in its finished rice foods was 97.62 ppb, which
  nearly matches FDA’s dangerously high 100 ppb level for inorganic arsenic for infant rice
  cereal.

           Hain claims that it “revised its internal policies and testing standards to conform to
  FDA’s non-binding recommendations.” 152 In 2016, FDA instituted draft guidance (which is now
  final) for inorganic arsenic in infant rice cereal at the dangerously high level of 100 ppb.
  However, Hain has not consistently abided by those limits.

          FDA also learned that Hain’s policy to test ingredients underrepresented the levels of
  toxic heavy metals in its finished baby foods. Hain’s finished products contained between 28%
  and 93% more inorganic arsenic than Hain estimated they would based on Hain’s ingredient

          152
              Letter from Kelly B. Kramer, Counsel for The Hain Celestial Group, Inc. to Chairman Raja
  Krishnamoorthi, Subcommittee on Economic and Consumer Policy, Committee on Oversight and Reform (Dec. 11,
  2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/9_Redacted.pdf).




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  testing method. 153 Hain found higher levels of arsenic in all finished foods tested for this FDA
  presentation than were reflected in tests of individual raw ingredients. This revelation means
  that every single finished good containing brown rice had more arsenic than the company’s
  estimates, which were based on testing the raw ingredients.

          After seeing these results, FDA was put on notice that finished baby foods pose an even
  higher risk to babies than reflected in company tests of the raw ingredients that go into those
  finished products.

  Final Product Data Compared to Raw Ingredient Data, From Hain’s Presentation to FDA 154




          Hain admitted to FDA in its presentation that “Brown Rice Flour testing results do not
  appear to be correlated to finished good results data.” 155 They are not correlated because the
  finished goods can contain as much as double the amount of arsenic as the raw ingredients.

          153
              Hain, PowerPoint Presentation to Food and Drug Administration: FDA Testing Result Investigation
  (Aug. 1, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).
          154
                Id.
          155
                Id.




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          What can account for this increase in inorganic arsenic from the time the ingredients are
  tested to the time the products are finished? Hain conveyed to FDA that the cause of the increase
  was Hain’s use of a dangerous additive, stating: “Preliminary investigation indicates
  Vitamin/Mineral Pre-Mix may be a major contributing factor.” Although this additive may only
  make up roughly 2% of the final good, Hain suggested it was still responsible for the spike in the
  levels of inorganic arsenic in the finished baby food. 156

         Hain’s finding accords with the Subcommittee’s own. In the test results we reviewed,
  Hain used vitamin pre-mix that contained 223 ppb arsenic. 157 This ingredient also contained 352
  ppb lead, a matter not even addressed in the FDA presentation.

  Hain’s Raw Material Pre-Shipment Test Data History (Excerpted Entry) 158




         Therefore, naturally occurring toxic heavy metals may not be the only problem causing
  dangerous levels of toxic heavy metals in baby foods; rather, baby food producers like Hain are
  adding ingredients that have high levels of toxic heavy metals into their products, such as
  vitamin/mineral pre-mix.

           FDA did not appear to take any unplanned actions on behalf of babies’ safety after it
  received Hain’s presentation. FDA did finalize a previously planned guidance, setting a limit of
  100 ppb inorganic arsenic in infant rice cereal. But it did not initiate regulation of additives like
  Hain’s vitamin/mineral pre-mix. Moreover, it has not mandated that baby food manufacturers
  test finished goods.

          E.          Corporate Testing Policies Hide the Truth: In Addition to Hain, Beech-Nut
                      and Gerber Also Fail to Test Finished Product, Risking an Undercount of
                      Toxic Heavy Metals in Their Finished Baby Foods.

         Hain (Earth’s Best Organic) revealed to FDA that its policy to test only its ingredients,
  and not its final product, is underrepresenting the levels of toxic heavy metals in its baby foods.
  Unfortunately, Hain is not alone. The majority of baby food manufacturers, including Beech-
  Nut and Gerber, employ the same policy of testing only ingredients. 159 That policy recklessly

          156
                Id.
          157
               Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/3_0.pdf).
          158
                Id.
           159
               Letter from the President and CEO of Beech-Nut Nutrition Company to Chairman Raja
  Krishnamoorthi, Subcommittee on Economic and Consumer Policy, Committee on Oversight and Reform (Dec. 6,
  2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/6_0.pdf) (“we do not test
  finished goods”); Letter from the Chief Executive Officer of Gerber Products Company to Chairman Raja
  Krishnamoorthi, Subcommittee on Economic and Consumer Policy, Committee on Oversight and Reform (Dec. 19,



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  endangers babies and children and prevents the companies from even knowing the full extent of
  the danger presented by their products.

          As the Hain presentation lays bare, ingredient testing does not work. Hain’s finished
  baby foods had more arsenic than their ingredients 100% of the time—28-93% more inorganic
  arsenic. 160 That means that only testing ingredients gives the false appearance of lower-than-
  actual toxic heavy metal levels.

  VI.      RECOMMENDATIONS AND CONSIDERATIONS FOR INDUSTRY, PARENTS, AND
           REGULATORS: DO HIGHLY TAINTED INGREDIENTS LIKE RICE BELONG IN
           BABY FOOD?

         Baby food manufacturers hold a special position of public trust. Consumers believe that
  they would not sell unsafe products. Consumers also believe that the federal government would
  not knowingly permit the sale of unsafe baby food. As this staff report reveals, baby food
  manufacturers and federal regulators have broken the faith.

          Step one to restoring that trust is for manufacturers to voluntarily and immediately reduce
  the levels of toxic heavy metals in their baby foods to as close to zero as possible. If that is
  impossible for foods containing certain ingredients, then those ingredients should not be included
  in baby foods.

        One example of an ingredient that might not be suitable for baby foods is rice.
  Throughout this report, rice appeared at or near the top of every list of dangerous baby foods.

           •           For Hain (Earth’s Best Organic), organic brown rice was the ingredient that tested
                       highest in inorganic arsenic—309 ppb. Indeed, the majority of Hain ingredients
                       that exceeded 100 ppb inorganic arsenic in testing (13 of 24) were organic brown
                       rice flour. 161
           •           For Beech-Nut, the majority of its ingredients that tested over 100 ppb inorganic
                       arsenic (27 of 45) were rice-based (either rice, rice flour, or organic rice). 162




  2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/7_Redacted.pdf) (Gerber’s
  policy is to “regularly test our ingredients, and periodically test… finished goods”); Hain, Testing And Release
  Procedure For Baby Food Ingredients (Dec. 11, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/8_Redacted.pdf) (Hain only tests raw
  ingredients; their testing policy applies only to ingredients and the vast majority of the testing information they
  provided to the Subcommittee was raw ingredient testing.).
           160
              Hain, PowerPoint Presentation to Food and Drug Administration: FDA Testing Result Investigation
  (Aug. 1, 2019) (online at https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf).
           161
                 Id.
           162
               Beech-Nut, Raw Material Heavy Metal Testing (Dec. 6, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/4.xlsx).




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          •        A significant number of the Nurture products that exceeded 100 ppb inorganic
                   arsenic were rice products. 163
          •        Gerber used 67 batches of rice flour with over 90 ppb inorganic arsenic. 164

          Further, rice and rice flour constitute a large proportion by volume of the baby foods that
  contain them. Therefore, increased toxic heavy metal levels in rice and rice flour could have a
  significant impact on the safety of the finished product.

         If certain ingredients, like rice, are highly tainted, the answer is not to simply lower toxic
  heavy metal levels as much as possible for those ingredients, the answer is to stop including
  them in baby foods. The Subcommittee urges manufacturers to make this change voluntarily.

          Similar considerations must be made for other ingredients that consistently contain higher
  levels of toxic heavy metals—ingredients like cinnamon, amylase, BAN 800, and vitamin
  premix. Manufacturers suggest that these additives, though high in toxic heavy metals, are not a
  concern because they make up a low percentage of the final food product. However, those
  manufacturers do not test their final food products, which is the only way to determine safety.
  Manufacturers should voluntarily commit to testing all of their finished baby food products, as
  opposed to just the ingredients. If they refuse, FDA should require them to do so.

          The Subcommittee recommends the following:

          •        Mandatory Testing: Only one of the companies reviewed by the Subcommittee
                   routinely tests its finished baby foods, even though the industry is aware that toxic
                   heavy metals levels are higher after food processing. Baby food manufacturers
                   should be required by FDA to test their finished products for toxic heavy metals,
                   not just their ingredients.
          •        Labeling: Manufacturers should by required by FDA to report levels of toxic
                   heavy metals on food labels.
          •        Voluntary Phase-Out of Toxic Ingredients: Manufacturers should voluntarily
                   find substitutes for ingredients that are high in toxic heavy metals, or phase out
                   products that have high amounts of ingredients that frequently test high in toxic
                   heavy metals, such as rice.
          •        FDA Standards: FDA should set maximum levels of inorganic arsenic, lead,
                   cadmium, and mercury permitted in baby foods. One level for each metal should
                   apply across all baby foods. The level should be set to protect babies against the
                   neurological effects of toxic heavy metals.
          •        Parental Vigilance: Parents should avoid baby food products that contain
                   ingredients testing high in heavy metals, such as rice products. The
                   implementation of recommendations one through four will give parents the
                   information they need to make informed decisions to protect their babies.

          163
               Nurture, Heavy Metal Test Results For Baby Food Products (Dec. 18, 2019) (online at
  http://oversight.house.gov/sites/democrats.oversight.house.gov/files/1.xlsx).
            164
                Gerber, Raw Material Heavy Metal Testing (Dec. 9, 2019) (online at
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/5_0.pdf).




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  VII.   CONCLUSION

          The Subcommittee’s investigation proves that commercial baby foods contain dangerous
  levels of arsenic, lead, mercury, and cadmium. These toxic heavy metals pose serious health
  risks to babies and toddlers. Manufacturers knowingly sell these products to unsuspecting
  parents, in spite of internal company standards and test results, and without any warning labeling
  whatsoever.

          Last year, the Trump administration ignored new information contained in a secret
  industry presentation to federal regulators about toxic heavy metals in baby foods. On August 1,
  2019, FDA received a secret slide presentation from Hain, the maker of Earth’s Best Organic
  baby food, which revealed that finished baby food products contain even higher levels of toxic
  heavy metals than estimates based on individual ingredient test results. One heavy metal in
  particular, inorganic arsenic, was repeatedly found to be present at 28-93% higher levels than
  estimated.

          The time is now for FDA to determine whether there is any safe exposure level for babies
  to inorganic arsenic, lead, cadmium, and mercury, to require manufacturers to meet those levels,
  and to inform consumers through labels.




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